Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF KANSAS

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                OYO Fitness, Inc.

2.   All other names debtor
     used in the last 8 years
     Include any assumed           OYO Fitness, LLC
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  92400 High Drive
                                  Leawood, KS 66206
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Johnson                                                         Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       www.oyofitness.com (disabled)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




                                     Case 24-20781              Doc# 1         Filed 06/21/24           Page 1 of 68
Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
Debtor    OYO Fitness, Inc.                                                                             Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 4543

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
     A debtor who is a “small             Chapter 9
     business debtor” must check          Chapter 11. Check all that apply:
     the first sub-box. A debtor as
     defined in § 1182(1) who                                     The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     elects to proceed under                                      noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                                   $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     (whether or not the debtor is a                              operations, cash-flow statement, and federal income tax return or if any of these documents do not
     “small business debtor”) must                                exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     check the second sub-box.
                                                                  The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                                  debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                  proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                  balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                  any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                  A plan is being filed with this petition.
                                                                  Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                  accordance with 11 U.S.C. § 1126(b).
                                                                  The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                  Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                  Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                  (Official Form 201A) with this form.
                                                                  The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                               District   District of Kansas            When      11/23/22                    Case number   22-21144-RDB
                                                  District                                 When                                  Case number




                                       Case 24-20781                Doc# 1          Filed 06/21/24              Page 2 of 68
Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                               page 2
Debtor    OYO Fitness, Inc.                                                                               Case number (if known)
          Name

10. Are any bankruptcy cases                 No
    pending or being filed by a
    business partner or an                   Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                          Debtor                                                                    Relationship
                                                     District                                 When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                                Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                                A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or                 No
    have possession of any
    real property or personal                       Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                           Yes.
    property that needs
    immediate attention?                            Why does the property need immediate attention? (Check all that apply.)
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?
                                                       It needs to be physically secured or protected from the weather.
                                                       It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                       Other
                                                    Where is the property?
                                                                                     Number, Street, City, State & ZIP Code
                                                    Is the property insured?
                                                       No
                                                       Yes.     Insurance agency
                                                                Contact name
                                                                Phone



          Statistical and administrative information

13. Debtor's estimation of             .         Check one:
    available funds
                                                    Funds will be available for distribution to unsecured creditors.
                                                    After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                    1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                               5001-10,000                                 50,001-100,000
                                           50-99
                                           100-199                                          10,001-25,000                               More than100,000
                                           200-999

15. Estimated Assets                       $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                           $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities                  $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                           Case 24-20781                 Doc# 1         Filed 06/21/24            Page 3 of 68
Official Form 201                                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 3
Debtor   OYO Fitness, Inc.                                                          Case number (if known)
         Name

                             $50,001 - $100,000                         $10,000,001 - $50 million            $1,000,000,001 - $10 billion
                             $100,001 - $500,000                        $50,000,001 - $100 million           $10,000,000,001 - $50 billion
                             $500,001 - $1 million                      $100,000,001 - $500 million          More than $50 billion




                             Case 24-20781            Doc# 1        Filed 06/21/24          Page 4 of 68
Official Form 201                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                                       page 4
Debtor    OYO Fitness, Inc.                                                                        Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      June 21, 2024
                                                  MM / DD / YYYY


                              X /s/ Barbara Salvaggio                                                     Barbara Salvaggio
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Administrator of the Estate of Paul Francis




18. Signature of attorney     X /s/ Colin Gotham                                                           Date June 21, 2024
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Colin Gotham KS#19538; MO#52343
                                 Printed name

                                 Evans & Mullinix, P.A.
                                 Firm name

                                 7225 Renner Road, Suite 200
                                 Shawnee, KS 66217
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     (913) 962-8700                Email address      cgotham@emlawkc.com

                                 KS#19538; MO#52343 KS
                                 Bar number and State




                                    Case 24-20781                Doc# 1         Filed 06/21/24             Page 5 of 68
Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 5
 Fill in this information to identify the case:
 Debtor name OYO Fitness, Inc.
 United States Bankruptcy Court for the: DISTRICT OF KANSAS                                                                                  Check if this is an

 Case number (if known):                                                                                                                     amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 Sanyox Sports Co.                                   Trade Debt                                                                                                $845,502.00
 Ltd
 NO. 99, LANE 32,
 BAOSHENG RD
 Changua City,
 Changua County
 Taiwan, Chushui510
 00
 CFT Clear Finance                                   Inventory Financing Contingent                                                                            $142,045.00
 Technology Corp                                                         Unliquidated
 1200-33 Yonge Street                                                    Disputed
 Toronto, ON
 M5E1G4
 Canada
 Chase Bank                                          Credit Card               Contingent                                                                        $59,826.00
 ATTN: Bankruptcy                                    Purchases                 Unliquidated
 Mail Intake                                                                   Disputed
 700 Kansas Lane,
 Floor 1
 Monroe, LA 71203
 Bank of America                                     Credit Card               Contingent                                                                        $46,250.00
 PO Box 15793                                        Purchases                 Unliquidated
 Wilmington, DE                                                                Disputed
 19886-5796
 Smart Warehousing                                   Trade Debt                                                                                                  $31,648.00
 7309 West 80th
 Street
 Suite 200
 Overland Park, KS
 66204
 Amazon Capital                                      Inventory - Amazon Contingent                          $27,504.00                 $10,000.00                $17,504.00
 Services, Inc.                                                         Unliquidated
 410 Terry Avenue                                                       Disputed
 North
 Seattle, WA 98109




Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1




                                     Case 24-20781               Doc# 1          Filed 06/21/24                Page 6 of 68
 Debtor    OYO Fitness, Inc.                                                                         Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 DPEX Worldwide                                      Trade Debt                                                                                                  $17,062.00
 Express
 60 Soi Airee North
 Phaholyothin Rd
 Phayathai,Phayathai
 Bangkok, Thailand
 10400
 BREX                                                Credit Card               Contingent                                                                        $16,200.00
 12832 Frontrunner                                   Purchases                 Unliquidated
 Blvd                                                                          Disputed
 Suite 500
 Draper, UT 84020
 Mutesix LLC                                         Trade Debt                                                                                                  $13,500.00
 5800 BRistol Parkway
 Suite 500
 Culver City, CA
 90230
 Rainfactory                                         Trade Debt                                                                                                  $12,688.00
 1037 NE 65TH ST; #
 82342
 Seattle, WA 98115
 Lockard & Wechsler                                  Trade Debt                                                                                                  $11,736.00
 2 Bridge Street
 Irvington, NY 10533
 Marcus Sy                                           Trade Debt                                                                                                  $10,959.00
 3F-2, No. 815,
 Zhongming South
 Roa
 South District
 Taichung City,
 Taiwan 40255
 Syncb/Paypal                                        Credit Card                                                                                                   $8,566.00
 PO Box 45950                                        Purchases
 Omaha, NE
 68145-0950
 American Cartage &                                  Trade Debt                Contingent                                                                          $7,773.00
 Distribution Co                                                               Unliquidated
 650 Belleville                                                                Disputed
 Turnpike
 Unit 6 & 2
 Kearny, NJ 07032
 Criteo Corp                                         Trade Debt                Contingent                                                                          $6,678.00
 387 Park Avenue                                                               Unliquidated
 South                                                                         Disputed
 11th & 12th Floors
 New York, NY 10016
 Kindred CPA, LLC                                    Services Provided                                                                                             $6,130.00
 211 East 8th Sreet
 Suite A
 Lawrence, KS 66044




Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2




                                     Case 24-20781               Doc# 1          Filed 06/21/24                Page 7 of 68
 Debtor    OYO Fitness, Inc.                                                                         Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 Kessinger Company,                                  Trade Debt                                                                                                    $6,000.00
 LLC
 2914 West 72nd
 Terrace
 Prairie Village, KS
 66208
 Venus Van Horn                                      Trade Debt                                                                                                    $3,732.00
 8221 East 134th
 Street
 Grandview, MO
 64030
 Ecommerce Nurse                                     Trade Debt                                                                                                    $2,800.00
 Limited
 46 Hullbridge Road
 South Woodham
 Ferries
 Chelmsford, Essex
 United Kingdom CM3
 5NG
 Red Points Solutions                                Trade Debt                                                                                                    $2,000.00
 S.L.
 10 East 38th Street
 9th Floor
 New York, NY 10116




Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 3




                                     Case 24-20781               Doc# 1          Filed 06/21/24                Page 8 of 68
Fill in this information to identify the case:

Debtor name         OYO Fitness, Inc.

United States Bankruptcy Court for the:     DISTRICT OF KANSAS

Case number (if known)
                                                                                                                                      Check if this is an
                                                                                                                                      amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                     12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

       No. Go to Part 2.
        Yes Fill in the information below.
     All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                      debtor's interest

3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
          Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                           number


          3.1.     Bank of America                                   Operating                             2353                                       $100.00




          3.2.     Bank of America                                   Advance                               9017                                       $100.00



4.        Other cash equivalents (Identify all)


          4.1.     Amazon Customer Payments - On Hold                                                                                               $1,000.00




5.        Total of Part 1.                                                                                                                      $1,200.00
          Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

       No. Go to Part 3.
       Yes Fill in the information below.


Part 3:          Accounts receivable
10. Does the debtor have any accounts receivable?


Official Form 206A/B                               Schedule A/B Assets - Real and Personal Property                                                         page 1


                                   Case 24-20781             Doc# 1         Filed 06/21/24           Page 9 of 68
Debtor       OYO Fitness, Inc.                                                       Case number (If known)
             Name


      No. Go to Part 4.
      Yes Fill in the information below.


Part 4:      Investments
13. Does the debtor own any investments?

      No. Go to Part 5.
      Yes Fill in the information below.


Part 5:      Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

      No. Go to Part 6.
      Yes Fill in the information below.

          General description               Date of the last         Net book value of        Valuation method used    Current value of
                                            physical inventory       debtor's interest        for current value        debtor's interest
                                                                     (Where available)

19.       Raw materials

20.       Work in progress
          Work in Progress in
          Trans-Sanyox Taiwan                                                      $0.00      Recent cost                       $395,518.00



21.       Finished goods, including goods held for resale
          Inventory - Smart
          Warehouse                                                                $0.00      Recent cost                       $175,000.00


          Inventory - Amazon                                                       $0.00      Recent cost                        $10,000.00



22.       Other inventory or supplies
          Inventory in Trans-Sanyox
          Taiwan                                                                   $0.00      Recent cost                       $267,092.00




23.       Total of Part 5.                                                                                                  $847,610.00
          Add lines 19 through 22. Copy the total to line 84.

24.       Is any of the property listed in Part 5 perishable?
             No
             Yes

25.       Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
             No
             Yes. Book value                             Valuation method                         Current Value

26.       Has any of the property listed in Part 5 been appraised by a professional within the last year?
             No
             Yes

Part 6:      Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

      No. Go to Part 7.
Official Form 206A/B                               Schedule A/B Assets - Real and Personal Property                                    page 2

                                 Case 24-20781              Doc# 1      Filed 06/21/24         Page 10 of 68
Debtor        OYO Fitness, Inc.                                                         Case number (If known)
              Name


      Yes Fill in the information below.


Part 7:       Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

      No. Go to Part 8.
      Yes Fill in the information below.


Part 8:       Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

      No. Go to Part 9.
      Yes Fill in the information below.

           General description                                        Net book value of         Valuation method used   Current value of
           Include year, make, model, and identification numbers      debtor's interest         for current value       debtor's interest
           (i.e., VIN, HIN, or N-number)                              (Where available)

47.        Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles


48.        Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
           floating homes, personal watercraft, and fishing vessels

49.        Aircraft and accessories


50.        Other machinery, fixtures, and equipment (excluding farm
           machinery and equipment)
           Production Tooling in Taiwan                                               $0.00     Recent cost                      $143,105.00



51.        Total of Part 8.                                                                                                  $143,105.00
           Add lines 47 through 50. Copy the total to line 87.

52.        Is a depreciation schedule available for any of the property listed in Part 8?
              No
              Yes

53.        Has any of the property listed in Part 8 been appraised by a professional within the last year?
              No
              Yes

Part 9:       Real property
54. Does the debtor own or lease any real property?

      No. Go to Part 10.
      Yes Fill in the information below.


Part 10:      Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

      No. Go to Part 11.
      Yes Fill in the information below.

           General description                                        Net book value of         Valuation method used   Current value of
                                                                      debtor's interest         for current value       debtor's interest
                                                                      (Where available)

Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                    page 3

                                  Case 24-20781              Doc# 1      Filed 06/21/24           Page 11 of 68
Debtor        OYO Fitness, Inc.                                                            Case number (If known)
              Name

60.        Patents, copyrights, trademarks, and trade secrets

61.        Internet domain names and websites
           www.oyofitness.com
           www.oyogym.com                                                           Unknown                                            Unknown



62.        Licenses, franchises, and royalties

63.        Customer lists, mailing lists, or other compilations

64.        Other intangibles, or intellectual property
           OYO Fitness Name                                                              $0.00     N/A                               $30,000.00



65.        Goodwill

66.        Total of Part 10.                                                                                                      $30,000.00
           Add lines 60 through 65. Copy the total to line 89.

67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
              No
              Yes

68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
              No
              Yes

69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
              No
              Yes

Part 11:      All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

      No. Go to Part 12.
      Yes Fill in the information below.




Official Form 206A/B                                 Schedule A/B Assets - Real and Personal Property                                       page 4

                                  Case 24-20781                  Doc# 1    Filed 06/21/24            Page 12 of 68
Debtor          OYO Fitness, Inc.                                                                                   Case number (If known)
                Name



Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                              Current value of                      Current value of real
                                                                                                    personal property                     property

80. Cash, cash equivalents, and financial assets.
    Copy line 5, Part 1                                                                                              $1,200.00

81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

82. Accounts receivable. Copy line 12, Part 3.                                                                              $0.00

83. Investments. Copy line 17, Part 4.                                                                                      $0.00

84. Inventory. Copy line 23, Part 5.                                                                             $847,610.00

85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

86. Office furniture, fixtures, and equipment; and collectibles.
    Copy line 43, Part 7.                                                                                                   $0.00

87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                    $143,105.00

88. Real property. Copy line 56, Part 9.........................................................................................>                                  $0.00

89. Intangibles and intellectual property. Copy line 66, Part 10.                                                  $30,000.00

90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

91. Total. Add lines 80 through 90 for each column                                                         $1,021,915.00              + 91b.                      $0.00


92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                   $1,021,915.00




Official Form 206A/B                                              Schedule A/B Assets - Real and Personal Property                                                          page 5

                                         Case 24-20781                       Doc# 1             Filed 06/21/24                      Page 13 of 68
Fill in this information to identify the case:

Debtor name         OYO Fitness, Inc.

United States Bankruptcy Court for the:           DISTRICT OF KANSAS

Case number (if known)
                                                                                                                                             Check if this is an
                                                                                                                                             amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                    12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
        No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
        Yes. Fill in all of the information below.
Part 1:     List Creditors Who Have Secured Claims
                                                                                                                   Column A                    Column B
2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
claim, list the creditor separately for each claim.                                                                Amount of claim             Value of collateral
                                                                                                                                               that supports this
                                                                                                                   Do not deduct the value     claim
                                                                                                                   of collateral.
      Amazon Capital Services,
2.1                                                                                                                         $27,504.00                $10,000.00
      Inc.                                         Describe debtor's property that is subject to a lien
      Creditor's Name                              Inventory - Amazon
      410 Terry Avenue North
      Seattle, WA 98109
      Creditor's mailing address                   Describe the lien

                                                   Is the creditor an insider or related party?
                                                      No
      Creditor's email address, if known               Yes
                                                   Is anyone else liable on this claim?
      Date debt was incurred                          No
                                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an                As of the petition filing date, the claim is:
      interest in the same property?               Check all that apply
          No                                          Contingent
          Yes. Specify each creditor,                 Unliquidated
      including this creditor and its relative
      priority.                                       Disputed




2.2   Celtic Bank Corp. / Blue Vine                Describe debtor's property that is subject to a lien                     $32,164.00              $395,518.00
      Creditor's Name                              Work in Progress in Trans-Sanyox Taiwan
      Attn Collections Dept
      401 Warren Street
      Redwood City, CA 94063
      Creditor's mailing address                   Describe the lien

                                                   Is the creditor an insider or related party?
                                                      No
      Creditor's email address, if known               Yes
                                                   Is anyone else liable on this claim?
      Date debt was incurred                          No
                                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an                As of the petition filing date, the claim is:
      interest in the same property?               Check all that apply


Official Form 206D                               Schedule D: Creditors Who Have Claims Secured by Property                                                  page 1 of 5


                                           Case 24-20781             Doc# 1          Filed 06/21/24              Page 14 of 68
Debtor      OYO Fitness, Inc.                                                                     Case number (if known)
            Name

          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative
      priority.                                      Disputed
      1. PayPay Loan / Loan
      Builder
      2. PayPal Working Capital
      3. Celtic Bank Corp. / Blue
      Vine
      4. Unique Funding Solutions
      5. Funding Metrics / Lindini

      EBF Holdings / Everest
2.3                                               Describe debtor's property that is subject to a lien                     $16,779.00   $175,000.00
      Business Funding
      Creditor's Name                             Inventory - Smart Warehouse
      8200 NW 52nd Terrace
      2nd Floor
      Miami, FL 33166
      Creditor's mailing address                  Describe the lien

                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative
      priority.                                      Disputed
      1. Goldman Sachs Bank USA
      2. EBF Holdings / Everest
      Business Funding

2.4   Funding Metrics / Lindini                   Describe debtor's property that is subject to a lien                     $65,639.00   $395,518.00
      Creditor's Name                             Work in Progress in Trans-Sanyox Taiwan
      3220 Tillman Drive, Suite 200
      Bensalem, PA 19020
      Creditor's mailing address                  Describe the lien

                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative
      priority.                                      Disputed
      Specified on line 2.2



Official Form 206D                    Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                           page 2 of 5


                                           Case 24-20781            Doc# 1          Filed 06/21/24              Page 15 of 68
Debtor      OYO Fitness, Inc.                                                                     Case number (if known)
            Name

2.5   Goldman Sachs Bank USA                      Describe debtor's property that is subject to a lien                     $90,000.00   $175,000.00
      Creditor's Name                             Inventory - Smart Warehouse
      200 West Street
      New York, NY 10282
      Creditor's mailing address                  Describe the lien

                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative
      priority.                                      Disputed
      Specified on line 2.3

2.6   Headway Capital, LLC                        Describe debtor's property that is subject to a lien                     $60,529.00   $395,518.00
      Creditor's Name                             Work in Progress in Trans-Sanyox Taiwan
      175 West Jackson Blvd.
      Suite 1000
      Chicago, IL 60604
      Creditor's mailing address                  Describe the lien

                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative
      priority.                                      Disputed




2.7   PayPal Working Capital                      Describe debtor's property that is subject to a lien                     $22,164.00   $395,518.00
      Creditor's Name                             Work in Progress in Trans-Sanyox Taiwan
      Attn: Executive Escalation
      PO Box 45950
      Omaha, NE 68145-0950
      Creditor's mailing address                  Describe the lien

                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number



Official Form 206D                    Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                           page 3 of 5


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Debtor       OYO Fitness, Inc.                                                                     Case number (if known)
             Name

       Do multiple creditors have an               As of the petition filing date, the claim is:
       interest in the same property?              Check all that apply
           No                                         Contingent
           Yes. Specify each creditor,                Unliquidated
       including this creditor and its relative
       priority.                                      Disputed
       Specified on line 2.2

2.8    PayPay Loan / Loan Builder                  Describe debtor's property that is subject to a lien                      $10,579.00              $395,518.00
       Creditor's Name                             Work in Progress in Trans-Sanyox Taiwan
       3505 Silverside Road
       Wilmington, DE 19810
       Creditor's mailing address                  Describe the lien

                                                   Is the creditor an insider or related party?
                                                      No
       Creditor's email address, if known              Yes
                                                   Is anyone else liable on this claim?
       Date debt was incurred                         No
                                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an               As of the petition filing date, the claim is:
       interest in the same property?              Check all that apply
           No                                         Contingent
           Yes. Specify each creditor,                Unliquidated
       including this creditor and its relative
       priority.                                      Disputed
       Specified on line 2.2

2.9    Unique Funding Solutions                    Describe debtor's property that is subject to a lien                     $147,375.00              $395,518.00
       Creditor's Name                             Work in Progress in Trans-Sanyox Taiwan
       71 South Central Avenue
       Suite 200
       Valley Stream, NY 11580
       Creditor's mailing address                  Describe the lien

                                                   Is the creditor an insider or related party?
                                                      No
       Creditor's email address, if known              Yes
                                                   Is anyone else liable on this claim?
       Date debt was incurred                         No
                                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an               As of the petition filing date, the claim is:
       interest in the same property?              Check all that apply
           No                                         Contingent
           Yes. Specify each creditor,                Unliquidated
       including this creditor and its relative
       priority.                                      Disputed
       Specified on line 2.2

3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.            $472,733.00

Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
assignees of claims listed above, and attorneys for secured creditors.

If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.



Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                       page 4 of 5


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Debtor    OYO Fitness, Inc.                                                  Case number (if known)
          Name

      Name and address                                                               On which line in Part 1 did       Last 4 digits of
                                                                                     you enter the related creditor?   account number for
                                                                                                                       this entity
      Zwicker & Associates
      80 Minute Man Road                                                             Line   2.5
      Andover, MA 01810




Official Form 206D        Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                            page 5 of 5


                              Case 24-20781        Doc# 1       Filed 06/21/24          Page 18 of 68
Fill in this information to identify the case:

Debtor name        OYO Fitness, Inc.

United States Bankruptcy Court for the:         DISTRICT OF KANSAS

Case number (if known)
                                                                                                                                                  Check if this is an
                                                                                                                                                  amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                 12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

Part 1:      List All Creditors with PRIORITY Unsecured Claims

      1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

            No. Go to Part 2.

            Yes. Go to line 2.


Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
      3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
         out and attach the Additional Page of Part 2.
                                                                                                                                                     Amount of claim

3.1       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 $7,773.00
          American Cartage & Distribution Co                                   Contingent
          650 Belleville Turnpike
                                                                               Unliquidated
          Unit 6 & 2
          Kearny, NJ 07032                                                     Disputed

          Date(s) debt was incurred                                         Basis for the claim: Trade Debt
          Last 4 digits of account number                                   Is the claim subject to offset?       No     Yes

3.2       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                $46,250.00
          Bank of America                                                      Contingent
          PO Box 15793
                                                                               Unliquidated
          Wilmington, DE 19886-5796
                                                                               Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                   Basis for the claim: Credit Card Purchases

                                                                            Is the claim subject to offset?       No     Yes

3.3       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                $16,200.00
          BREX                                                                 Contingent
          12832 Frontrunner Blvd
                                                                               Unliquidated
          Suite 500
          Draper, UT 84020                                                     Disputed

          Date(s) debt was incurred                                         Basis for the claim: Credit Card Purchases
          Last 4 digits of account number                                   Is the claim subject to offset?       No     Yes

3.4       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              $142,045.00
          CFT Clear Finance
          Technology Corp                                                      Contingent
          1200-33 Yonge Street                                                 Unliquidated
          Toronto, ON M5E1G4                                                   Disputed
          Canada
                                                                            Basis for the claim: Inventory Financing
          Date(s) debt was incurred
          Last 4 digits of account number                                   Is the claim subject to offset?       No     Yes




Official Form 206E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                        page 1 of 6
                                                                                                          24980
                                     Case 24-20781                 Doc# 1           Filed 06/21/24                 Page 19 of 68
Debtor      OYO Fitness, Inc.                                                               Case number (if known)
            Name

3.5      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $59,826.00
         Chase Bank                                                   Contingent
         ATTN: Bankruptcy Mail Intake
                                                                      Unliquidated
         700 Kansas Lane, Floor 1
         Monroe, LA 71203                                             Disputed

         Date(s) debt was incurred                                 Basis for the claim: Credit Card Purchases
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.6      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $6,678.00
         Criteo Corp                                                  Contingent
         387 Park Avenue South
                                                                      Unliquidated
         11th & 12th Floors
         New York, NY 10016                                           Disputed

         Date(s) debt was incurred                                 Basis for the claim: Trade Debt
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.7      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    Unknown
         David Angel Sifuentes, III                                   Contingent
         439 More Street NE
                                                                      Unliquidated
         Unit 2
         Grand Rapids, MI 49503                                       Disputed

         Date(s) debt was incurred                                 Basis for the claim: Alleged Liability Claim
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.8      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $50.00
         DiCentral Corporation                                        Contingent
         1199 Nasa Parkway                                            Unliquidated
         Houston, TX 77058                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.9      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $17,062.00
         DPEX Worldwide Express                                       Contingent
         60 Soi Airee North Phaholyothin Rd                           Unliquidated
         Phayathai,Phayathai                                          Disputed
         Bangkok, Thailand 10400
                                                                   Basis for the claim: Trade Debt
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.10     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $2,800.00
         Ecommerce Nurse Limited
         46 Hullbridge Road                                           Contingent
         South Woodham Ferries                                        Unliquidated
         Chelmsford, Essex                                            Disputed
         United Kingdom CM3 5NG
                                                                   Basis for the claim: Trade Debt
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.11     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    Unknown
         Eric Viets                                                   Contingent
         PO Box 11423                                                 Unliquidated
         Lynchburg, VA 24506
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Investor
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                      Page 2 of 6



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Debtor      OYO Fitness, Inc.                                                               Case number (if known)
            Name

3.12     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    Unknown
         Ethan Baker                                                  Contingent
         1725 Sunrise Drive                                           Unliquidated
         Potomac, MD 20854                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Investor
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.13     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $0.00
         First Business Bank                                          Contingent
         11300 Tomahawk Creek Parkway                                 Unliquidated
         Suite 100                                                    Disputed
         Leawood, KS 66211
                                                                   Basis for the claim: Notice Only
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.14     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $400.00
         Hubspot, Inc.                                                Contingent
         25 First Street                                              Unliquidated
         Cambridge, MA 02141                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.15     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $6,000.00
         Kessinger Company, LLC                                       Contingent
         2914 West 72nd Terrace                                       Unliquidated
         Prairie Village, KS 66208                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.16     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $6,130.00
         Kindred CPA, LLC                                             Contingent
         211 East 8th Sreet                                           Unliquidated
         Suite A                                                      Disputed
         Lawrence, KS 66044
                                                                   Basis for the claim: Services Provided
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.17     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $446.00
         Lesley Anderson                                              Contingent
         11505 North Monticello Drive                                 Unliquidated
         Knoxville, TN 37934                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.18     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $11,736.00
         Lockard & Wechsler                                           Contingent
         2 Bridge Street                                              Unliquidated
         Irvington, NY 10533                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                      Page 3 of 6



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Debtor      OYO Fitness, Inc.                                                               Case number (if known)
            Name

3.19     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $10,959.00
         Marcus Sy                                                    Contingent
         3F-2, No. 815, Zhongming South Roa                           Unliquidated
         South District                                               Disputed
         Taichung City, Taiwan 40255
                                                                   Basis for the claim: Trade Debt
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.20     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $13,500.00
         Mutesix LLC                                                  Contingent
         5800 BRistol Parkway                                         Unliquidated
         Suite 500                                                    Disputed
         Culver City, CA 90230
                                                                   Basis for the claim: Trade Debt
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.21     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $585.00
         Paunya, LLC                                                  Contingent
         3208 Southwest Trafficway                                    Unliquidated
         Kansas City, MO 64111                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.22     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $316.00
         Penny Hestand                                                Contingent
         414 South Mill Street                                        Unliquidated
         Vine Grove, KY 40175                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.23     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $141.22
         Pexgo Japan                                                  Contingent
         5-5-5 Karabe                                                 Unliquidated
         Narita-shi, Chiba-ken                                        Disputed
         Japan, 286-0036
                                                                   Basis for the claim: Trade Debt
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.24     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $12,688.00
         Rainfactory                                                  Contingent
         1037 NE 65TH ST; # 82342                                     Unliquidated
         Seattle, WA 98115                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.25     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $2,000.00
         Red Points Solutions S.L.                                    Contingent
         10 East 38th Street                                          Unliquidated
         9th Floor                                                    Disputed
         New York, NY 10116
                                                                   Basis for the claim: Trade Debt
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                      Page 4 of 6



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Debtor      OYO Fitness, Inc.                                                               Case number (if known)
            Name

3.26     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $1,594.50
         Sandberg Phoenix                                             Contingent
         600 Washington - 15th Floor                                  Unliquidated
         Saint Louis, MO 63101-1313                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Services Provided
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.27     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $845,502.00
         Sanyox Sports Co. Ltd                                        Contingent
         NO. 99, LANE 32, BAOSHENG RD                                 Unliquidated
         Changua City, Changua County                                 Disputed
         Taiwan, Chushui510 00
                                                                   Basis for the claim: Trade Debt
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.28     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $1,462.00
         Skye High Media Ltd                                          Contingent
         5 South Charlotte Street                                     Unliquidated
         Edinburgh, East Lothian EH2 4AN                              Disputed
         United Kingdom
                                                                   Basis for the claim: Trade Debt
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.29     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $31,648.00
         Smart Warehousing                                            Contingent
         7309 West 80th Street                                        Unliquidated
         Suite 200                                                    Disputed
         Overland Park, KS 66204
                                                                   Basis for the claim: Trade Debt
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.30     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $8,566.00
         Syncb/Paypal                                                 Contingent
         PO Box 45950                                                 Unliquidated
         Omaha, NE 68145-0950                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Credit Card Purchases
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.31     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $1,910.00
         Technical Consulting Services LLC                            Contingent
         871 Oakbranch Place                                          Unliquidated
         Sanford, FL 32771                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.32     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $3,732.00
         Venus Van Horn                                               Contingent
         8221 East 134th Street                                       Unliquidated
         Grandview, MO 64030                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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Debtor       OYO Fitness, Inc.                                                                      Case number (if known)
             Name

3.33      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                $1,925.00
          Vimeo Com Inc                                                       Contingent
          PO Box 74008984                                                     Unliquidated
          Chicago, IL 60674-8984                                              Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim: Trade Debt
          Last 4 digits of account number
                                                                           Is the claim subject to offset?         No     Yes



Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

  If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

          Name and mailing address                                                                  On which line in Part1 or Part 2 is the         Last 4 digits of
                                                                                                    related creditor (if any) listed?               account number, if
                                                                                                                                                    any
4.1       Andrew J. Nazar
          900 West 48th Place                                                                       Line     3.13
          Kansas City, MO 64112
                                                                                                           Not listed. Explain

4.2       Chase Bank
          PO Box 15298                                                                              Line     3.5
          Wilmington, DE 19850-5298
                                                                                                           Not listed. Explain

4.3       Synchrony Bank
          Attn: Bankruptcy Dept.                                                                    Line     3.30
          PO Box 965060
                                                                                                           Not listed. Explain
          Orlando, FL 32896-5060


Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                        Total of claim amounts
5a. Total claims from Part 1                                                                           5a.          $                           0.00
5b. Total claims from Part 2                                                                           5b.    +     $                   1,259,924.72

5c. Total of Parts 1 and 2
    Lines 5a + 5b = 5c.                                                                                5c.          $                      1,259,924.72




Official Form 206 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 6 of 6



                                    Case 24-20781                 Doc# 1           Filed 06/21/24                   Page 24 of 68
Fill in this information to identify the case:

Debtor name       OYO Fitness, Inc.

United States Bankruptcy Court for the:     DISTRICT OF KANSAS

Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.   Does the debtor have any executory contracts or unexpired leases?
       No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

2. List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired
                                                                              lease

2.1.       State what the contract or            Warehouse Lease
           lease is for and the nature of
           the debtor's interest

               State the term remaining
                                                                                    Smart Warehouse
           List the contract number of any                                          7309 West 80th Street
                 government contract                                                Overland Park, KS 66204




Official Form 206G                        Schedule G: Executory Contracts and Unexpired Leases                                                    Page 1 of 1


                                 Case 24-20781               Doc# 1         Filed 06/21/24             Page 25 of 68
Fill in this information to identify the case:

Debtor name      OYO Fitness, Inc.

United States Bankruptcy Court for the:   DISTRICT OF KANSAS

Case number (if known)
                                                                                                                               Check if this is an
                                                                                                                               amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                     12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

    1. Do you have any codebtors?

   No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
   Yes

  2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
     creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
     on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
           Column 1: Codebtor                                                                        Column 2: Creditor



          Name                        Mailing Address                                           Name                            Check all schedules
                                                                                                                                that apply:

   2.1    Paul S. Francis             374 North 750th Street                                    Celtic Bank Corp. /                D   2.2
          (Deceased)                  Overbrook, KS 66524                                       Blue Vine                          E/F
                                                                                                                                   G




   2.2    Paul S. Francis             374 North 750th Street                                    EBF Holdings / Everest             D   2.3
          (Deceased)                  Overbrook, KS 66524                                       Business Funding                   E/F
                                                                                                                                   G




   2.3    Paul S. Francis             374 North 750th Street                                    First Business Bank                D
          (Deceased)                  Overbrook, KS 66524                                                                          E/F       3.13
                                                                                                                                   G




   2.4    Paul S. Francis             374 North 750th Street                                    Funding Metrics /                  D   2.4
          (Deceased)                  Overbrook, KS 66524                                       Lindini                            E/F
                                                                                                                                   G




   2.5    Paul S. Francis             374 North 750th Street                                    Headway Capital, LLC               D   2.6
          (Deceased)                  Overbrook, KS 66524                                                                          E/F
                                                                                                                                   G




Official Form 206H                                                    Schedule H: Your Codebtors                                             Page 1 of 2

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Debtor    OYO Fitness, Inc.                                                       Case number (if known)


         Additional Page to List More Codebtors
         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
          Column 1: Codebtor                                                          Column 2: Creditor



  2.6     Paul S. Francis          374 North 750th Street                              Goldman Sachs Bank                 D   2.5
          (Deceased)               Overbrook, KS 66524                                 USA                                E/F
                                                                                                                          G




  2.7     Paul S. Francis          374 North 750th Street                              Unique Funding                     D   2.9
          (Deceased)               Overbrook, KS 66524                                 Solutions                          E/F
                                                                                                                          G




  2.8     Spira Flex, LLC          374 North 750th Street                              First Business Bank                D
                                   Overbrook, KS 66524                                                                    E/F   3.13
                                                                                                                          G




  2.9     Mark Moedritzer          2555 Grand Blvd                                     Smart Warehouse                    D
                                   Kansas City, MO 64108                                                                  E/F
                                                                                                                          G   2.1




Official Form 206H                                              Schedule H: Your Codebtors                                      Page 2 of 2

                              Case 24-20781           Doc# 1       Filed 06/21/24         Page 27 of 68
Fill in this information to identify the case:

Debtor name           OYO Fitness, Inc.

United States Bankruptcy Court for the:                      DISTRICT OF KANSAS

Case number (if known)
                                                                                                                                                                                     Check if this is an
                                                                                                                                                                                     amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                12/15

Part 1:     Summary of Assets


1.   Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

     1a. Real property:
         Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

     1b. Total personal property:
         Copy line 91A from Schedule A/B.........................................................................................................................                     $        1,021,915.00

     1c. Total of all property:
         Copy line 92 from Schedule A/B...........................................................................................................................                    $        1,021,915.00


Part 2:     Summary of Liabilities


2.   Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
     Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $           472,733.00


3.   Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

     3a. Total claim amounts of priority unsecured claims:
         Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $                    0.00

     3b. Total amount of claims of nonpriority amount of unsecured claims:
         Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$        1,259,924.72


4.   Total liabilities .......................................................................................................................................................
     Lines 2 + 3a + 3b                                                                                                                                                           $           1,732,657.72




Official Form 206Sum                                             Summary of Assets and Liabilities for Non-Individuals                                                                                page 1


                                             Case 24-20781                            Doc# 1                 Filed 06/21/24                        Page 28 of 68
Fill in this information to identify the case:

Debtor name         OYO Fitness, Inc.

United States Bankruptcy Court for the:     DISTRICT OF KANSAS

Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                       12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



             Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
      individual serving as a representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

               Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
               Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
               Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
               Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
               Schedule H: Codebtors (Official Form 206H)
               Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
               Amended Schedule
               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
               Other document that requires a declaration

      I declare under penalty of perjury that the foregoing is true and correct.

       Executed on       June 21, 2024                   X /s/ Barbara Salvaggio
                                                           Signature of individual signing on behalf of debtor

                                                            Barbara Salvaggio
                                                            Printed name

                                                            Administrator of the Estate of Paul Francis
                                                            Position or relationship to debtor




Official Form 202                                   Declaration Under Penalty of Perjury for Non-Individual Debtors




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Fill in this information to identify the case:

Debtor name         OYO Fitness, Inc.

United States Bankruptcy Court for the:    DISTRICT OF KANSAS

Case number (if known)
                                                                                                                                  Check if this is an
                                                                                                                                  amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                04/22
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

Part 1:     Income

1. Gross revenue from business

          None.

      Identify the beginning and ending dates of the debtor’s fiscal year,            Sources of revenue                          Gross revenue
      which may be a calendar year                                                    Check all that apply                        (before deductions and
                                                                                                                                  exclusions)

      From the beginning of the fiscal year to filing date:                               Operating a business                                  $4,000.00
      From 1/01/2024 to Filing Date
                                                                                          Other


      For prior year:                                                                     Operating a business                                 $84,251.00
      From 1/01/2023 to 12/31/2023
                                                                                          Other


      For year before that:                                                               Operating a business                             $2,067,728.00
      From 1/01/2022 to 12/31/2022
                                                                                          Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

          None.

                                                                                      Description of sources of revenue           Gross revenue from
                                                                                                                                  each source
                                                                                                                                  (before deductions and
                                                                                                                                  exclusions)

Part 2:     List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be adjusted on 4/01/25
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

          None.

      Creditor's Name and Address                                 Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                      Check all that apply

4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 1


                                 Case 24-20781              Doc# 1          Filed 06/21/24             Page 42 of 68
Debtor      OYO Fitness, Inc.                                                                   Case number (if known)



    or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $7,575. (This amount
    may be adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
    listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
    debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

          None.

      Insider's name and address                                   Dates                 Total amount of value           Reasons for payment or transfer
      Relationship to debtor

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

          None

      Creditor's name and address                      Describe of the Property                                        Date                Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

          None

      Creditor's name and address                      Description of the action creditor took                         Date action was                Amount
                                                                                                                       taken

Part 3:     Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

          None.

             Case title                                Nature of case              Court or agency's name and                 Status of case
             Case number                                                           address

8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

          None


Part 4:     Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

          None

             Recipient's name and address              Description of the gifts or contributions                 Dates given                             Value


Part 5:     Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

          None




Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 2


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Debtor        OYO Fitness, Inc.                                                                   Case number (if known)



      Description of the property lost and             Amount of payments received for the loss                   Dates of loss           Value of property
      how the loss occurred                                                                                                                            lost
                                                       If you have received payments to cover the loss, for
                                                       example, from insurance, government compensation, or
                                                       tort liability, list the total received.

                                                       List unpaid claims on Official Form 106A/B (Schedule
                                                       A/B: Assets – Real and Personal Property).

Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

          None.

                Who was paid or who received             If not money, describe any property transferred               Dates                Total amount or
                the transfer?                                                                                                                        value
                Address
      11.1.     Evans and Mullinix PA                    Filing Fee & Attorney Fees (pre-petition).
                7225 Renner Rd Ste 200                   There is $7,000.00 in the Attorney Trust                      4/25/2024 -
                Shawnee, KS 66217-3043                   Account.                                                      $10,1738                $101,738.00

                Email or website address


                Who made the payment, if not debtor?
                Barbara Salvaggio, Trustee / Executor



12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

          None.

      Name of trust or device                            Describe any property transferred                     Dates transfers              Total amount or
                                                                                                               were made                             value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

          None.

               Who received transfer?                  Description of property transferred or                     Date transfer             Total amount or
               Address                                 payments received or debts paid in exchange                was made                           value

 Part 7:      Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


          Does not apply

                Address                                                                                            Dates of occupancy
                                                                                                                   From-To
      14.1.     OYO Fitness, Inc.                                                                                  9/23/2012 to 6/01/2022
                330 West 47th Street
                Suite 201
                Kansas City, MO 64112


Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    page 3


                                   Case 24-20781              Doc# 1          Filed 06/21/24              Page 44 of 68
Debtor        OYO Fitness, Inc.                                                                  Case number (if known)



Part 8:       Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

           No. Go to Part 9.
           Yes. Fill in the information below.


                Facility name and address               Nature of the business operation, including type of services                If debtor provides meals
                                                        the debtor provides                                                         and housing, number of
                                                                                                                                    patients in debtor’s care

Part 9:       Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

           No.
           Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

           No. Go to Part 10.
           Yes. Does the debtor serve as plan administrator?


Part 10:      Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

          None
              Financial Institution name and            Last 4 digits of           Type of account or          Date account was                  Last balance
              Address                                   account number             instrument                  closed, sold,                 before closing or
                                                                                                               moved, or                              transfer
                                                                                                               transferred
      18.1.     First Business Bank                     XXXX-                         Checking                 2023                                       $0.00
                                                                                      Savings
                                                                                      Money Market
                                                                                      Brokerage
                                                                                      Other


19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


          None

      Depository institution name and address                Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?
                                                             Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.




Official Form 207                            Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                      page 4


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Debtor      OYO Fitness, Inc.                                                                   Case number (if known)




         None

      Facility name and address                             Names of anyone with                  Description of the contents               Does debtor
                                                            access to it                                                                    still have it?
      Amazon Seller Central                                 Unknown                               Inventory Storage / Fulfillment               No
      Fulfillment Centers                                                                                                                       Yes
      Various Locations

      Smart Warehousing #33                                 Unknown                               Inventory Storage / Fulfillment               No
      31850 West 196th Street                                                                                                                   Yes
      Gardner, KS 66030



Part 11:    Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

       None


Part 12:    Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

     Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
     owned, operated, or utilized.

     Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
     similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

           No.
           Yes. Provide details below.

      Case title                                            Court or agency name and              Nature of the case                        Status of case
      Case number                                           address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

           No.
           Yes. Provide details below.

      Site name and address                                 Governmental unit name and                Environmental law, if known           Date of notice
                                                            address

24. Has the debtor notified any governmental unit of any release of hazardous material?

           No.
           Yes. Provide details below.

      Site name and address                                 Governmental unit name and                Environmental law, if known           Date of notice
                                                            address

Part 13:    Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 5


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Debtor      OYO Fitness, Inc.                                                                   Case number (if known)



    Include this information even if already listed in the Schedules.

         None

   Business name address                             Describe the nature of the business               Employer Identification number
                                                                                                       Do not include Social Security number or ITIN.

                                                                                                       Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

      Name and address                                                                                                                 Date of service
                                                                                                                                       From-To
      26a.1.        Kindred CPA LLC                                                                                                    1/01/2016 to present
                    211 East 8th Steet
                    Suite A
                    Lawrence, KS 66044

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

             None


    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

             None

      Name and address                                                                               If any books of account and records are
                                                                                                     unavailable, explain why

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

             None

      Name and address

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

           No
           Yes. Give the details about the two most recent inventories.

               Name of the person who supervised the taking of the                  Date of inventory        The dollar amount and basis (cost, market,
               inventory                                                                                     or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

      Name                                    Address                                             Position and nature of any                    % of interest, if
                                                                                                  interest                                      any
      Barbara Salvaggio, Trustee              9240 High Drive                                     Administrator of the Estate of                71%
                                              Leawood, KS 66206                                   Paul Francis



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


           No
           Yes. Identify below.

Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                        page 6


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Debtor      OYO Fitness, Inc.                                                                  Case number (if known)




30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

           No
           Yes. Identify below.

             Name and address of recipient            Amount of money or description and value of               Dates               Reason for
                                                      property                                                                      providing the value

31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

           No
           Yes. Identify below.

   Name of the parent corporation                                                                     Employer Identification number of the parent
                                                                                                      corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

           No
           Yes. Identify below.

   Name of the pension fund                                                                           Employer Identification number of the pension
                                                                                                      fund




Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 7


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Debtor      OYO Fitness, Inc.                                                                   Case number (if known)




Part 14:    Signature and Declaration

     WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
     connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
     18 U.S.C. §§ 152, 1341, 1519, and 3571.

     I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
     and correct.

     I declare under penalty of perjury that the foregoing is true and correct.

Executed on         June 21, 2024

/s/ Barbara Salvaggio                                           Barbara Salvaggio
Signature of individual signing on behalf of the debtor         Printed name

Position or relationship to debtor   Administrator of the Estate of Paul Francis

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
   No
   Yes




Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                               page 8


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B2030 (Form 2030) (12/15)
                                                         United States Bankruptcy Court
                                                                     District of Kansas
 In re       OYO Fitness, Inc.                                                                                Case No.
                                                                              Debtor(s)                       Chapter       11

                        DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.    Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
      compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
      be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                      Hourly
             Prior to the filing of this statement I have received                                        $                  9,000.00
             Balance Due                                                                                  $                      Hourly

2.    $     1,738.00       of the filing fee has been paid.

3.    The source of the compensation paid to me was:
                  Debtor              Other (specify):

4.    The source of compensation to be paid to me is:
                  Debtor              Other (specify):

5.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

6.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

      a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
      b. Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
      c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
      d. [Other provisions as needed]


7.    By agreement with the debtor(s), the above-disclosed fee does not include the following service:
              Representation of the debtors in any dischargeability actions, judicial lien avoidances, relief from stay actions or any other
              adversary proceedings, reaffirmations and redemptions.
                                                                     CERTIFICATION
      I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
this bankruptcy proceeding.

                                                                              /s/ Colin N. Gotham
     Date                                                                     Colin Gotham KS#19538; MO#52343
                                                                              Signature of Attorney
                                                                              Evans & Mullinix, P.A.
                                                                              7225 Renner Road, Suite 200
                                                                              Shawnee, KS 66217
                                                                              (913) 962-8700 Fax: (913) 962-8701
                                                                              cgotham@emlawkc.com
                                                                              Name of law firm




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           Amazon Capital Services, Inc.
           410 Terry Avenue North
           Seattle, WA 98109


           American Cartage & Distribution Co
           650 Belleville Turnpike
           Unit 6 & 2
           Kearny, NJ 07032


           Andrew J. Nazar
           900 West 48th Place
           Kansas City, MO 64112


           Bank of America
           PO Box 15793
           Wilmington, DE 19886-5796


           BREX
           12832 Frontrunner Blvd
           Suite 500
           Draper, UT 84020


           Celtic Bank Corp. / Blue Vine
           Attn Collections Dept
           401 Warren Street
           Redwood City, CA 94063


           CFT Clear Finance
           Technology Corp
           1200-33 Yonge Street
           Toronto, ON M5E1G4
           Canada


           Chase Bank
           ATTN: Bankruptcy Mail Intake
           700 Kansas Lane, Floor 1
           Monroe, LA 71203


           Chase Bank
           PO Box 15298
           Wilmington, DE 19850-5298


           Criteo Corp
           387 Park Avenue South
           11th & 12th Floors
           New York, NY 10016

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       David Angel Sifuentes, III
       439 More Street NE
       Unit 2
       Grand Rapids, MI 49503


       DiCentral Corporation
       1199 Nasa Parkway
       Houston, TX 77058


       DPEX Worldwide Express
       60 Soi Airee North Phaholyothin Rd
       Phayathai,Phayathai
       Bangkok, Thailand 10400


       EBF Holdings / Everest Business Funding
       8200 NW 52nd Terrace
       2nd Floor
       Miami, FL 33166


       Ecommerce Nurse Limited
       46 Hullbridge Road
       South Woodham Ferries
       Chelmsford, Essex
       United Kingdom CM3 5NG


       Eric Viets
       PO Box 11423
       Lynchburg, VA 24506


       Ethan Baker
       1725 Sunrise Drive
       Potomac, MD 20854


       First Business Bank
       11300 Tomahawk Creek Parkway
       Suite 100
       Leawood, KS 66211


       Funding Metrics / Lindini
       3220 Tillman Drive, Suite 200
       Bensalem, PA 19020


       Goldman Sachs Bank USA
       200 West Street
       New York, NY 10282


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       Headway Capital, LLC
       175 West Jackson Blvd.
       Suite 1000
       Chicago, IL 60604


       Hubspot, Inc.
       25 First Street
       Cambridge, MA 02141


       Kessinger Company, LLC
       2914 West 72nd Terrace
       Prairie Village, KS 66208


       Kindred CPA, LLC
       211 East 8th Sreet
       Suite A
       Lawrence, KS 66044


       Lesley Anderson
       11505 North Monticello Drive
       Knoxville, TN 37934


       Lockard & Wechsler
       2 Bridge Street
       Irvington, NY 10533


       Marcus Sy
       3F-2, No. 815, Zhongming South Roa
       South District
       Taichung City, Taiwan 40255


       Mark Moedritzer
       2555 Grand Blvd
       Kansas City, MO 64108


       Mutesix LLC
       5800 BRistol Parkway
       Suite 500
       Culver City, CA 90230


       Paul S. Francis (Deceased)
       374 North 750th Street
       Overbrook, KS 66524




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       Paunya, LLC
       3208 Southwest Trafficway
       Kansas City, MO 64111


       PayPal Working Capital
       Attn: Executive Escalation
       PO Box 45950
       Omaha, NE 68145-0950


       PayPay Loan / Loan Builder
       3505 Silverside Road
       Wilmington, DE 19810


       Penny Hestand
       414 South Mill Street
       Vine Grove, KY 40175


       Pexgo Japan
       5-5-5 Karabe
       Narita-shi, Chiba-ken
       Japan, 286-0036


       Rainfactory
       1037 NE 65TH ST; # 82342
       Seattle, WA 98115


       Red Points Solutions S.L.
       10 East 38th Street
       9th Floor
       New York, NY 10116


       Sandberg Phoenix
       600 Washington - 15th Floor
       Saint Louis, MO 63101-1313


       Sanyox Sports Co. Ltd
       NO. 99, LANE 32, BAOSHENG RD
       Changua City, Changua County
       Taiwan, Chushui510 00


       Skye High Media Ltd
       5 South Charlotte Street
       Edinburgh, East Lothian EH2 4AN
       United Kingdom



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       Smart Warehouse
       7309 West 80th Street
       Overland Park, KS 66204


       Smart Warehousing
       7309 West 80th Street
       Suite 200
       Overland Park, KS 66204


       Spira Flex, LLC
       374 North 750th Street
       Overbrook, KS 66524


       Syncb/Paypal
       PO Box 45950
       Omaha, NE 68145-0950


       Synchrony Bank
       Attn: Bankruptcy Dept.
       PO Box 965060
       Orlando, FL 32896-5060


       Technical Consulting Services LLC
       871 Oakbranch Place
       Sanford, FL 32771


       Unique Funding Solutions
       71 South Central Avenue
       Suite 200
       Valley Stream, NY 11580


       Venus Van Horn
       8221 East 134th Street
       Grandview, MO 64030


       Vimeo Com Inc
       PO Box 74008984
       Chicago, IL 60674-8984


       Zwicker & Associates
       80 Minute Man Road
       Andover, MA 01810




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                                               United States Bankruptcy Court
                                                           District of Kansas
 In re   OYO Fitness, Inc.                                                                      Case No.
                                                                     Debtor(s)                  Chapter     11




                                   VERIFICATION OF CREDITOR MATRIX


I, the Administrator of the Estate of Paul Francis of the corporation named as the debtor in this case, hereby verify that the attached

list of creditors is true and correct to the best of my knowledge.




Date:     June 21, 2024                                 /s/ Barbara Salvaggio
                                                        Barbara Salvaggio/Administrator of the Estate of Paul Francis
                                                        Signer/Title




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                                                   United States Bankruptcy Court
                                                                 District of Kansas
 In re    OYO Fitness, Inc.                                                                               Case No.
                                                                           Debtor(s)                      Chapter       11

                                               LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

Name and last known address or place of                 Security Class Number of Securities                          Kind of Interest
business of holder
Bruce Salvaggio                                         Non-Voting           25,000                                  Non-Voting
9240 High Drive
Leawood, KS 66206

Jami Sunkel                                             Non-Voting           27,232                                  Non-Voting
6711 Stella Link Road
Houston, TX 77005

Joseph Baker                                            Non-Voting           27,232                                  Non-Voting



Joseph Kessinger                                        Non-Voting           311,500                                 Non-Voting Options
2914 West 72nd Terrace                                  Options
Prairie Village, KS 66208

Judy Chiao                                              Non-Voting           27,232                                  Non-Voting
6711 Stella Link Road
Houston, TX 77005

Kurt Van Keppel                                         Non-Voting           194,000                                 Non-Voting Options
PO Box 410182                                           Options
Kansas City, MO 64141-0182

Leroy Chiao                                             Non-Voting           77,600                                  Non-Voting Options
6711 Stella Link Road                                   Options
SDuite 353
Houston, TX 77005

Leroy Chiao                                             Non-Voting           27,232                                  Non-Voting
6711 Stella Link Road
SDuite 353
Houston, TX 77005

Luis Felipe Derani                                                           0.66%



Nicholas Bolton                                         Non-Voting           296,866                                 Non-Voting
15701 Riley Street
Overland Park, KS 66223

Paul Francis                                            Voting               5,812,500                               Voting
374 North 750th Road
Overbrook, KS 66524




Sheet 1 of 2 in List of Equity Security Holders



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In re:    OYO Fitness, Inc.                                                                          Case No.
                                                                                 Debtor(s)



                                               LIST OF EQUITY SECURITY HOLDERS
                                                                   (Continuation Sheet)

Name and last known address or place of                     Security Class Number of Securities                             Kind of Interest
business of holder

Ripple Consulting, LLC                                      Non-Voting            582,000                                   Non-Voting Options
5927 Locust                                                 Options
Kansas City, MO 64110

Sonya Andrews                                               Non-Voting            161,500                                   Non-Voting
3208 Southwest Trafficway
Kansas City, MO 64111

Sonya Andrews                                               Non-Voting            155,200                                   Non-Voting Options
3208 Southwest Trafficway                                   Options
Kansas City, MO 64111

Start Engine EQ Crowdfunders
See Attached Exhibit A

Terry Rouse                                                 Non-Voting            64,700                                    Non-Voting
3941 Gennessee Street
Kansas City, MO 64111

Thomas Houlehan                                             Non-Voting            161,500                                   Non-Voting
330 West 47th Street
Kansas City, MO 64112

Thomas Houlehan                                             Non-Voting            75,000                                    Non-Voting
330 West 47th Street
Kansas City, MO 64112


DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the Administrator of the Estate of Paul Francis of the corporation named as the debtor in this case, declare under
penalty of perjury that I have read the foregoing List of Equity Security Holders and that it is true and correct to the best
of my information and belief.



Date June 21, 2024                                                       Signature /s/ Barbara Salvaggio
                                                                                        Barbara Salvaggio

                   Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                    18 U.S.C. §§ 152 and 3571.




List of equity security holders consists of 2 total page(s)

                                 Case 24-20781                 Doc# 1          Filed 06/21/24              Page 58 of 68
Date Invested         Company Name   Offering Name   Investor Name         Person Type   Investor Email              Country Share QTY      Base Shares     Bonus Shares       Amount Invested      Investor Fee      Total Amount     Payment Method   Payment Status   Investment Status   Submitted to Escrow        AML/KYC Status

2022-03-17 11:52 AM   OYO Fitness    OYO Fitness     Todd Dillon           person        mr740i2000@gmail.com        US            14,375          12,500           1,875              $25,000.00           $700.00         $25,700.00 ach              SUBMITTED        INVESTED            2022-04-18T23:25:06.682Z   COMPLETED

2022-03-15 12:40 PM   OYO Fitness    OYO Fitness     Bruce Salvaggio       person        brucesalvaggio@gmail.com    US            14,375          12,500           1,875              $25,000.00           $700.00         $25,700.00 credit_card      SUBMITTED        INVESTED            2022-03-21T18:35:19.005Z   COMPLETED

2022-07-14 22:59 PM   OYO Fitness    OYO Fitness     Nathan Lucash         person        nlucash@gmail.com           US             5,250           5,000             250              $10,000.00           $350.00         $10,350.00 credit_card      SUBMITTED        INVESTED            2022-07-26T03:28:18.822Z   COMPLETED

2022-04-13 6:27 AM    OYO Fitness    OYO Fitness     Denise Kotos          person        jamesisle8033@gmail.com     US             5,250           5,000             250              $10,000.00           $350.00         $10,350.00 credit_card      SUBMITTED        INVESTED            2022-04-20T04:55:44.523Z   COMPLETED

2022-03-29 12:14 PM   OYO Fitness    OYO Fitness     Jason Wotman          person        jwotman@gmail.com           US             5,250           5,000             250              $10,000.00           $350.00         $10,350.00 credit_card      SUBMITTED        INVESTED            2022-04-04T19:52:38.783Z   COMPLETED

2022-07-14 15:10 PM   OYO Fitness    OYO Fitness     Michele Hagans        person        mvhagans@gmail.com          US             2,750           2,500             250               $5,000.00           $175.00          $5,175.00 credit_card      SUBMITTED        INVESTED            2022-07-19T06:44:14.032Z   COMPLETED

2022-05-04 19:23 PM   OYO Fitness    OYO Fitness     Cheryl Harrison       person        rootdigger61@gmail.com      US             2,550           2,500              50               $5,000.00           $175.00          $5,175.00 credit_card      SUBMITTED        INVESTED            2022-05-10T06:19:48.369Z   COMPLETED

2022-05-04 13:22 PM   OYO Fitness    OYO Fitness     Glenn Grider          person        gcgrider@protonmail.com     US             2,750           2,500             250               $5,000.00           $175.00          $5,175.00 ach              SUBMITTED        INVESTED            2022-05-17T06:42:08.091Z   COMPLETED

2022-04-25 3:04 AM    OYO Fitness    OYO Fitness     Kimberly Hatten       person        hattens92411@yahoo.com      US             2,550           2,500              50               $5,000.00           $175.00          $5,175.00 ach              SUBMITTED        INVESTED            2022-05-10T06:00:01.771Z   COMPLETED

2022-04-12 17:02 PM   OYO Fitness    OYO Fitness     Jenny Sheng           person        mamashengof3@gmail.com      US             2,550           2,500              50               $5,000.00           $175.00          $5,175.00 credit_card      SUBMITTED        INVESTED            2022-04-20T04:55:44.523Z   COMPLETED

2022-04-12 12:58 PM   OYO Fitness    OYO Fitness     John Bigwood          person        johncbigwood@gmail.com      US             2,550           2,500              50               $5,000.00           $175.00          $5,175.00 credit_card      SUBMITTED        INVESTED            2022-04-20T04:55:44.523Z   COMPLETED

2022-03-28 12:03 AM   OYO Fitness    OYO Fitness     Mary Sikes            person        sikesa@gmail.com            US             2,625           2,500             125               $5,000.00           $175.00          $5,175.00 credit_card      SUBMITTED        INVESTED            2022-04-04T19:52:38.783Z   COMPLETED

2022-03-27 22:43 PM   OYO Fitness    OYO Fitness     Kelvin Soetardjo      person        kelvin.ds@live.com.au       AU             2,625           2,500             125               $5,000.00           $175.00          $5,175.00 credit_card      SUBMITTED        INVESTED            2022-05-10T06:19:48.369Z   COMPLETED

2022-03-20 18:30 PM   OYO Fitness    OYO Fitness     Carl Arnold III       person        carlarnoldiii@comcast.net   US             2,750           2,500             250               $5,000.00           $175.00          $5,175.00 credit_card      SUBMITTED        INVESTED            2022-04-16T05:02:27.675Z   COMPLETED

2022-03-17 13:08 PM   OYO Fitness    OYO Fitness     Phil Wipperman        person        glockman092@yahoo.com       US             2,875           2,500             375               $5,000.00           $175.00          $5,175.00 credit_card      SUBMITTED        INVESTED            2022-03-21T18:35:19.005Z   COMPLETED

2022-04-03 7:45 AM    OYO Fitness    OYO Fitness     Harrison Hurst        person        hyhurst@me.com              US             1,650           1,500             150               $3,000.00           $105.00          $3,105.00 credit_card      SUBMITTED        INVESTED            2022-04-16T05:02:27.675Z   COMPLETED

2022-03-15 22:23 PM   OYO Fitness    OYO Fitness     Ali Althani           person        dxb.alt@hotmail.com         AE             1,725           1,500             225               $3,000.00           $105.00          $3,105.00 credit_card      SUBMITTED        INVESTED            2022-05-10T06:19:48.369Z   COMPLETED

2022-03-28 14:02 PM   OYO Fitness    OYO Fitness     Robert Broida         person        rib@ed-qual.com             US             1,312           1,250              62               $2,500.00            $87.50          $2,587.50 credit_card      SUBMITTED        INVESTED            2022-04-04T19:52:38.783Z   COMPLETED

2022-03-17 23:49 PM   OYO Fitness    OYO Fitness     Robert Collister      person        jakesteriny@hotmail.com     US             1,437           1,250             187               $2,500.00            $87.50          $2,587.50 credit_card      SUBMITTED        INVESTED            2022-03-28T17:57:57.945Z   COMPLETED

2022-03-27 13:00 PM   OYO Fitness    OYO Fitness     Charles Lowenstein    person        chuckdlow@gmail.com         US             1,177           1,121              56               $2,242.00            $78.47          $2,320.47 credit_card      SUBMITTED        INVESTED            2022-04-04T19:52:38.783Z   COMPLETED

2022-07-14 15:38 PM   OYO Fitness    OYO Fitness     Arnold Brownell       person        asbrownell@gmail.com        US             1,100           1,000             100               $2,000.00            $70.00          $2,070.00 credit_card      SUBMITTED        INVESTED            2022-07-19T06:44:14.032Z   COMPLETED

2022-04-16 5:26 AM    OYO Fitness    OYO Fitness     Don Beekman           person        d.m.beekman@verizon.net     US             1,000           1,000                  0            $2,000.00            $70.00          $2,070.00 credit_card      SUBMITTED        INVESTED            2022-04-27T01:46:01.513Z   COMPLETED

2022-03-27 9:31 AM    OYO Fitness    OYO Fitness     John Yee              person        tukyee@juno.com             US             1,050           1,000              50               $2,000.00            $70.00          $2,070.00 credit_card      SUBMITTED        INVESTED            2022-04-04T19:52:38.783Z   COMPLETED

2022-03-17 12:59 PM   OYO Fitness    OYO Fitness     MARTY YOST            person        myost@cekinsurance.com      US             1,150           1,000             150               $2,000.00            $70.00          $2,070.00 credit_card      SUBMITTED        INVESTED            2022-03-21T18:35:19.005Z   COMPLETED

2022-03-17 10:11 AM   OYO Fitness    OYO Fitness     Tracy Cullers         person        tracyacullers@gmail.com     US             1,150           1,000             150               $2,000.00            $70.00          $2,070.00 credit_card      SUBMITTED        INVESTED            2022-03-21T18:35:19.005Z   COMPLETED

2022-03-17 7:22 AM    OYO Fitness    OYO Fitness     Damon Ladson          person        dladson@hwglaw.com          US             1,150           1,000             150               $2,000.00            $70.00          $2,070.00 ach              SUBMITTED        INVESTED            2022-03-28T18:02:44.637Z   COMPLETED
                                                                                         ray_shinneman@air-
2022-05-15 7:16 AM    OYO Fitness    OYO Fitness     Dr Ray Shinneman      person        compliance.com              US              750              750                  0            $1,500.00            $52.50          $1,552.50 credit_card      SUBMITTED        INVESTED            2022-05-24T04:49:23.277Z   COMPLETED

2022-04-14 22:30 PM   OYO Fitness    OYO Fitness     Willis Kelley         person        ewk.2002@gmail.com          US              750              750                  0            $1,500.00            $52.50          $1,552.50 credit_card      SUBMITTED        INVESTED            2022-04-27T01:46:01.513Z   COMPLETED

2022-04-12 15:07 PM   OYO Fitness    OYO Fitness     Kevin Hamera          person        kevin.hamera@gmail.com      US              750              750                  0            $1,500.00            $52.50          $1,552.50 credit_card      SUBMITTED        INVESTED            2022-04-20T04:55:44.523Z   COMPLETED

2022-03-29 13:21 PM   OYO Fitness    OYO Fitness     Santo Gaetano         person        schmartguy@gmail.com        US              750              750                  0            $1,500.00            $52.50          $1,552.50 credit_card      SUBMITTED        INVESTED            2022-04-04T19:52:38.783Z   COMPLETED

2022-03-29 6:42 AM    OYO Fitness    OYO Fitness     Loren Smith           person        urosmith@gmail.com          US              787              750              37               $1,500.00            $52.50          $1,552.50 credit_card      SUBMITTED        INVESTED            2022-04-04T19:52:38.783Z   COMPLETED
                                                     John R Miller &
2022-03-17 6:36 AM    OYO Fitness    OYO Fitness     Rosemary Miller       trust         jrmiller55@gmail.com        US              862              750             112               $1,500.00            $52.50          $1,552.50 credit_card      SUBMITTED        INVESTED            2022-04-04T19:52:38.783Z   COMPLETED

2022-07-17 14:23 PM   OYO Fitness    OYO Fitness     Mariam Awada          person        drmariamawada@gmail.com     US              818              744              74               $1,488.00            $52.08          $1,540.08 credit_card      SUBMITTED        INVESTED            2022-07-26T03:28:18.822Z   COMPLETED

2022-06-20 5:14 AM    OYO Fitness    OYO Fitness     Ashraf Al-Bahlawan    person        ashraf.albahlawan@gmail.com JO              737              737                  0            $1,474.00            $51.59          $1,525.59 credit_card      SUBMITTED        INVESTED            2022-06-28T05:07:13.740Z   COMPLETED
                                                                                         penghuang070284@yahoo.co
2022-03-20 22:15 PM   OYO Fitness    OYO Fitness     Peng Huang            person        m                           US              788              717              71               $1,434.00            $50.19          $1,484.19 credit_card      SUBMITTED        INVESTED            2022-03-28T17:57:57.945Z   COMPLETED

2022-03-21 9:23 AM    OYO Fitness    OYO Fitness     The KrieLee Group, LLC company      ruskriewald@aol.com         US              782              711              71               $1,422.00            $49.77          $1,471.77 credit_card      SUBMITTED        INVESTED            2022-03-28T17:57:57.945Z   COMPLETED

2022-03-28 23:38 PM   OYO Fitness    OYO Fitness     Markus Birkhold       person        markus.birkhold@gmail.com   DE              707              674              33               $1,348.00            $47.18          $1,395.18 credit_card      SUBMITTED        INVESTED            2022-05-10T06:19:48.369Z   COMPLETED

2022-03-28 18:42 PM   OYO Fitness    OYO Fitness     Todd Gilbertson       person        gilb62@hotmail.com          US              706              673              33               $1,346.00            $47.11          $1,393.11 credit_card      SUBMITTED        INVESTED            2022-04-04T19:52:38.783Z   COMPLETED

2022-03-27 12:43 PM   OYO Fitness    OYO Fitness     Aaron Erickson        person        erickson.aaron@gmail.com    US              703              670              33               $1,340.00            $46.90          $1,386.90 credit_card      SUBMITTED        INVESTED            2022-04-04T19:52:38.783Z   COMPLETED

2022-03-18 4:25 AM    OYO Fitness    OYO Fitness     Jianghua Huang        person        jhhuang25@gmail.com         US              748              651              97               $1,302.00            $45.57          $1,347.57 credit_card      SUBMITTED        INVESTED            2022-03-28T17:57:57.945Z   COMPLETED

2022-07-18 18:30 PM   OYO Fitness    OYO Fitness     Ian Dixon             person        ian.n.dixon@gmail.com       US              698              635              63               $1,270.00            $44.45          $1,314.45 credit_card      SUBMITTED        INVESTED            2022-07-26T03:28:18.822Z   COMPLETED

2022-06-08 9:49 AM    OYO Fitness    OYO Fitness     Teresa MCQueen        person        mcqueent@swbell.net         US              633              633                  0            $1,266.00            $44.31          $1,310.31 credit_card      SUBMITTED        INVESTED            2022-06-14T04:47:39.416Z   COMPLETED

2022-03-30 18:14 PM   OYO Fitness    OYO Fitness     Jessica Pisano        person        justin@justinpisano.com     US              625              625                  0            $1,250.00            $43.75          $1,293.75 credit_card      SUBMITTED        INVESTED            2022-04-04T19:52:38.783Z   COMPLETED

2022-03-17 10:43 AM   OYO Fitness    OYO Fitness     Kristin Lund          person        kvlund35@gmail.com          US              713              620              93               $1,240.00            $43.40          $1,283.40 credit_card      SUBMITTED        INVESTED            2022-03-21T18:35:19.005Z   COMPLETED

2022-03-20 15:34 PM   OYO Fitness    OYO Fitness     Basudev Adhikari      person        missionbda@gmail.com        US              679              618              61               $1,236.00            $43.26          $1,279.26 credit_card      SUBMITTED        INVESTED            2022-03-28T17:57:57.945Z   COMPLETED

2022-03-22 11:12 AM   OYO Fitness    OYO Fitness     Gautam Dey            person        gautam.dey77@gmail.com      US              630              600              30               $1,200.00            $42.00          $1,242.00 credit_card      SUBMITTED        INVESTED            2022-03-28T17:57:57.945Z   COMPLETED

2022-03-18 7:20 AM    OYO Fitness    OYO Fitness     Jasper Timmermans     person        jastimpje@gmail.com         NL              690              600              90               $1,200.00            $42.00          $1,242.00 credit_card      SUBMITTED        INVESTED            2022-05-10T06:19:48.369Z   COMPLETED

2022-03-17 10:35 AM   OYO Fitness    OYO Fitness     Michael R Oppizzi     person        moppizzi57@gmail.com        US              690              600              90               $1,200.00            $42.00          $1,242.00 ach              SUBMITTED        INVESTED            2022-03-28T18:02:44.637Z   COMPLETED

2022-03-23 12:51 PM   OYO Fitness    OYO Fitness     Gary Morin            person        garyslock@yahoo.com         US              624              595              29               $1,190.00            $41.65          $1,231.65 credit_card      SUBMITTED        INVESTED            2022-03-28T17:57:57.945Z   COMPLETED

2022-03-27 13:58 PM   OYO Fitness    OYO Fitness     Andrew Turner         person        alturner2@gmail.com         US              605              577              28               $1,154.00            $40.39          $1,194.39 credit_card      SUBMITTED        INVESTED            2022-04-04T19:52:38.783Z   COMPLETED




                                                                                         Case 24-20781                              Doc# 1                      Filed 06/21/24                                        Page 59 of 68
2022-03-29 8:53 AM    OYO Fitness   OYO Fitness   Hicham Regragui         person    hicham_regragui@msn.com        US     601   573     28   $1,146.00   $40.11     $1,186.11 credit_card   SUBMITTED   INVESTED   2022-04-04T19:52:38.783Z   COMPLETED

2022-03-27 18:07 PM   OYO Fitness   OYO Fitness   Todd Deluca             person    dayluca@yahoo.com              US     598   570     28   $1,140.00   $39.90     $1,179.90 credit_card   SUBMITTED   INVESTED   2022-04-04T19:52:38.783Z   COMPLETED

2022-03-17 21:43 PM   OYO Fitness   OYO Fitness   Armando Rodriguez       person    armando565@yahoo.com           US     625   544     81   $1,088.00   $38.08     $1,126.08 credit_card   SUBMITTED   INVESTED   2022-03-28T17:57:57.945Z   COMPLETED

2022-03-16 22:14 PM   OYO Fitness   OYO Fitness   Priyankha Balasundaram person     priyankha@gmail.com            US     616   536     80   $1,072.00   $37.52     $1,109.52 credit_card   SUBMITTED   INVESTED   2022-03-21T18:35:19.005Z   COMPLETED

2022-07-15 10:14 AM   OYO Fitness   OYO Fitness   Howard Hesford          person    howieleroy@gmail.com           US     587   534     53   $1,068.00   $37.38     $1,105.38 credit_card   SUBMITTED   INVESTED   2022-07-26T03:28:18.822Z   COMPLETED
                                                  INAMULHAQUE
2022-07-16 14:53 PM   OYO Fitness   OYO Fitness   SABOOR                  person    inamul212@gmail.com            US     584   531     53   $1,062.00   $37.17     $1,099.17 ach           SUBMITTED   INVESTED   2022-08-02T01:03:53.003Z   COMPLETED

2022-05-08 17:33 PM   OYO Fitness   OYO Fitness   Patrick Quimby          person    psq725-cio@yahoo.com           US     583   530     53   $1,060.00   $37.10     $1,097.10 credit_card   SUBMITTED   INVESTED   2022-05-17T06:51:03.663Z   COMPLETED

2022-05-08 10:44 AM   OYO Fitness   OYO Fitness   James Armbruster II     person    drjimdmd1949@icloud.com        US     583   530     53   $1,060.00   $37.10     $1,097.10 credit_card   SUBMITTED   INVESTED   2022-05-17T06:51:03.663Z   COMPLETED

2022-06-06 16:59 PM   OYO Fitness   OYO Fitness   Damon Ladson            person    dladson@hwglaw.com             US     528   528      0   $1,056.00   $36.96     $1,092.96 ach           SUBMITTED   INVESTED   2022-06-21T06:16:15.421Z   COMPLETED

2022-07-02 5:47 AM    OYO Fitness   OYO Fitness   Ori Ben Shabat          person    orib669@gmail.com              US     527   527      0   $1,054.00   $36.89     $1,090.89 credit_card   SUBMITTED   INVESTED   2022-07-12T21:01:59.968Z   COMPLETED

2022-05-10 21:30 PM   OYO Fitness   OYO Fitness   Kandi Clark             person    kandiclark13@aol.com           US     579   527     52   $1,054.00   $36.89     $1,090.89 credit_card   SUBMITTED   INVESTED   2022-05-17T06:51:03.663Z   COMPLETED
                                                  Peanut Butter & Jelly
2022-07-19 7:53 AM    OYO Fitness   OYO Fitness   LLC                     company   pdl7@aol.com                   US     578   526     52   $1,052.00   $36.82     $1,088.82 credit_card   SUBMITTED   INVESTED   2022-07-26T03:28:18.822Z   COMPLETED

2022-03-17 9:50 AM    OYO Fitness   OYO Fitness   MANDEEP SINGH           person    mandeepgsaini@yahoo.com        US     602   524     78   $1,048.00   $36.68     $1,084.68 credit_card   SUBMITTED   INVESTED   2022-03-21T18:35:19.005Z   COMPLETED

2022-07-13 19:56 PM   OYO Fitness   OYO Fitness   Richard Franetzki       person    rick7087@aol.com               US     523   523      0   $1,046.00   $36.61     $1,082.61 credit_card   SUBMITTED   INVESTED   2022-07-19T06:44:14.032Z   COMPLETED

2022-07-19 23:55 PM   OYO Fitness   OYO Fitness   Seth Brody              person    sbrody116@yahoo.com            US     520   520      0   $1,040.00   $36.40     $1,076.40 credit_card   SUBMITTED   INVESTED   2022-07-26T03:28:18.822Z   COMPLETED

2022-03-20 16:03 PM   OYO Fitness   OYO Fitness   Mark Bentley            person    mbentley@cfl.rr.com            US     567   516     51   $1,032.00   $36.12     $1,068.12 credit_card   SUBMITTED   INVESTED   2022-03-28T17:57:57.945Z   COMPLETED

2022-04-17 12:06 PM   OYO Fitness   OYO Fitness   George Macomber         person    russmacomber017@gmail.com US          563   512     51   $1,024.00   $35.84     $1,059.84 credit_card   SUBMITTED   INVESTED   2022-04-27T01:46:01.513Z   COMPLETED

2022-03-20 18:10 PM   OYO Fitness   OYO Fitness   Jay Harris              person    jay@jhcocpa.com                US     562   511     51   $1,022.00   $35.77     $1,057.77 credit_card   SUBMITTED   INVESTED   2022-03-28T17:57:57.945Z   COMPLETED

2022-03-21 7:27 AM    OYO Fitness   OYO Fitness   solon wilkins           person    solonwilkins@gmail.com         US     561   510     51   $1,020.00   $35.70     $1,055.70 credit_card   SUBMITTED   INVESTED   2022-03-28T17:57:57.945Z   COMPLETED

2022-03-21 9:26 AM    OYO Fitness   OYO Fitness   Carin Chapman           person    avs2525@yahoo.com              US     558   508     50   $1,016.00   $35.56     $1,051.56 credit_card   SUBMITTED   INVESTED   2022-03-28T17:57:57.945Z   COMPLETED

2022-07-19 23:15 PM   OYO Fitness   OYO Fitness   COURTNEY RAPLEY         person    tech4155@yahoo.com             US     500   500      0   $1,000.00   $35.00     $1,035.00 credit_card   SUBMITTED   INVESTED   2022-07-26T03:28:18.822Z   COMPLETED

2022-07-19 22:51 PM   OYO Fitness   OYO Fitness   Kris Hesford            person    river_rat_502@yahoo.com        US     550   500     50   $1,000.00   $35.00     $1,035.00 credit_card   SUBMITTED   INVESTED   2022-07-26T03:28:18.822Z   COMPLETED

2022-07-19 6:32 AM    OYO Fitness   OYO Fitness   Florian Kirchler        person    floriankirchler@yahoo.de       DE     500   500      0   $1,000.00   $35.00     $1,035.00 credit_card   SUBMITTED   INVESTED   2022-07-26T03:28:18.822Z   COMPLETED

2022-07-15 16:58 PM   OYO Fitness   OYO Fitness   Dennis Soderstrum       person    sodefhdds@aol.com              US     500   500      0   $1,000.00   $35.00     $1,035.00 credit_card   SUBMITTED   INVESTED   2022-07-26T03:28:18.822Z   COMPLETED

2022-07-14 17:16 PM   OYO Fitness   OYO Fitness   Joseph Silva            person    joesilva1962@gmail.com         US     500   500      0   $1,000.00   $35.00     $1,035.00 credit_card   SUBMITTED   INVESTED   2022-07-19T06:44:14.032Z   COMPLETED

2022-07-14 11:06 AM   OYO Fitness   OYO Fitness   David Castricone        person    dcastricone2@verizon.net       US     500   500      0   $1,000.00   $35.00     $1,035.00 credit_card   SUBMITTED   INVESTED   2022-07-19T06:44:14.032Z   COMPLETED

2022-07-14 4:41 AM    OYO Fitness   OYO Fitness   Julian Ellison          person    julian@grandprixcafe.com       US     500   500      0   $1,000.00   $35.00     $1,035.00 credit_card   SUBMITTED   INVESTED   2022-07-19T06:44:14.032Z   COMPLETED

2022-07-09 18:18 PM   OYO Fitness   OYO Fitness   William Strickling      person    wstrickling@hotmail.com        US     550   500     50   $1,000.00   $35.00     $1,035.00 credit_card   SUBMITTED   INVESTED   2022-07-19T06:44:14.032Z   COMPLETED

2022-05-10 14:46 PM   OYO Fitness   OYO Fitness   Justin Gamab            person    kicktrickz@gmail.com           US     500   500      0   $1,000.00   $35.00     $1,035.00 credit_card   SUBMITTED   INVESTED   2022-05-17T06:51:03.663Z   COMPLETED

2022-05-10 10:16 AM   OYO Fitness   OYO Fitness   James Haynes            person    jlhaynes0@gmail.com            US     500   500      0   $1,000.00   $35.00     $1,035.00 credit_card   SUBMITTED   INVESTED   2022-05-17T06:51:03.663Z   COMPLETED

2022-04-29 13:00 PM   OYO Fitness   OYO Fitness   William Lancaster       person    naught_cord0x@icloud.com       US     500   500      0   $1,000.00   $35.00     $1,035.00 credit_card   SUBMITTED   INVESTED   2022-05-10T06:19:48.369Z   COMPLETED

2022-04-13 12:47 PM   OYO Fitness   OYO Fitness   Alejandro Ruiz          person    dare2dreambig@gmail.com        US     500   500      0   $1,000.00   $35.00     $1,035.00 credit_card   SUBMITTED   INVESTED   2022-04-20T04:55:44.523Z   COMPLETED

2022-04-13 10:11 AM   OYO Fitness   OYO Fitness   Danilo Ebias            person    danilo.ebias.jr@outlook.com    US     500   500      0   $1,000.00   $35.00     $1,035.00 credit_card   SUBMITTED   INVESTED   2022-04-20T04:55:44.523Z   COMPLETED

2022-04-12 19:04 PM   OYO Fitness   OYO Fitness   Michele Hagans          person    mvhagans@gmail.com             US     550   500     50   $1,000.00   $35.00     $1,035.00 credit_card   SUBMITTED   INVESTED   2022-04-20T04:55:44.523Z   COMPLETED

2022-04-12 12:31 PM   OYO Fitness   OYO Fitness   Clay Goodman            person    clay_goodman@msn.com           US     500   500      0   $1,000.00   $35.00     $1,035.00 credit_card   SUBMITTED   INVESTED   2022-04-20T04:55:44.523Z   COMPLETED

2022-03-31 12:25 AM   OYO Fitness   OYO Fitness   Wakako Shiota           person    shiota.wakako@gmail.com        JP     500   500      0   $1,000.00   $35.00     $1,035.00 credit_card   SUBMITTED   INVESTED   2022-05-10T06:19:48.369Z   COMPLETED

2022-03-30 16:44 PM   OYO Fitness   OYO Fitness   Jack Robinson           person    jcr.llc@charter.net            US     550   500     50   $1,000.00   $35.00     $1,035.00 credit_card   SUBMITTED   INVESTED   2022-04-04T19:52:38.783Z   COMPLETED

2022-03-29 7:57 AM    OYO Fitness   OYO Fitness   Jason Nakashima         person    jasn_2000@yahoo.com            US     525   500     25   $1,000.00   $35.00     $1,035.00 credit_card   SUBMITTED   INVESTED   2022-04-04T19:52:38.783Z   COMPLETED

2022-03-28 23:50 PM   OYO Fitness   OYO Fitness   Linda Ordoukhanian      person    ukinoto@yahoo.com              US     550   500     50   $1,000.00   $35.00     $1,035.00 credit_card   SUBMITTED   INVESTED   2022-04-04T19:52:38.783Z   COMPLETED

2022-03-28 22:09 PM   OYO Fitness   OYO Fitness   Jon Meagher             person    celticboy@hotmail.com          US     525   500     25   $1,000.00   $35.00     $1,035.00 ach           SUBMITTED   INVESTED   2022-04-18T23:25:06.682Z   COMPLETED

2022-03-28 16:06 PM   OYO Fitness   OYO Fitness   sandra molidor          person    sandymoli327@gmail.com         US     550   500     50   $1,000.00   $35.00     $1,035.00 credit_card   SUBMITTED   INVESTED   2022-04-04T19:52:38.783Z   COMPLETED

2022-03-27 15:24 PM   OYO Fitness   OYO Fitness   Debra Cunningham        person    flymicco@gmail.com               US   525   500     25   $1,000.00   $35.00     $1,035.00 credit_card   SUBMITTED   INVESTED   2022-04-04T19:52:38.783Z   COMPLETED
                                                                                    jcsvj6drfj@privaterelay.appleid.
2022-03-27 14:20 PM   OYO Fitness   OYO Fitness   Justin Reed             person    com                              US   525   500     25   $1,000.00   $35.00     $1,035.00 credit_card   SUBMITTED   INVESTED   2022-04-04T19:52:38.783Z   COMPLETED

2022-03-27 11:51 AM   OYO Fitness   OYO Fitness   Mark A Etheridge        person    supcon19@hotmail.com           US     525   500     25   $1,000.00   $35.00     $1,035.00 ach           SUBMITTED   INVESTED   2022-04-18T23:25:06.682Z   COMPLETED

2022-03-27 9:48 AM    OYO Fitness   OYO Fitness   Hector Lugo             person    hllugo@hotmail.com             US     525   500     25   $1,000.00   $35.00     $1,035.00 credit_card   SUBMITTED   INVESTED   2022-04-04T19:52:38.783Z   COMPLETED

2022-03-27 9:36 AM    OYO Fitness   OYO Fitness   Hector Lugo             person    hllugo@hotmail.com             US     525   500     25   $1,000.00   $35.00     $1,035.00 credit_card   SUBMITTED   INVESTED   2022-04-04T19:52:38.783Z   COMPLETED

2022-03-24 8:52 AM    OYO Fitness   OYO Fitness   Bearen Lewis            person    bearenl@yahoo.com              US     525   500     25   $1,000.00   $35.00     $1,035.00 credit_card   SUBMITTED   INVESTED   2022-04-16T05:02:27.675Z   COMPLETED

2022-03-22 16:43 PM   OYO Fitness   OYO Fitness   Kandi Clark             person    kandiclark13@aol.com           US     550   500     50   $1,000.00   $35.00     $1,035.00 credit_card   SUBMITTED   INVESTED   2022-03-28T17:57:57.945Z   COMPLETED

2022-03-21 21:37 PM   OYO Fitness   OYO Fitness   Shannon Reilly          person    shamur@comcast.net             US     550   500     50   $1,000.00   $35.00     $1,035.00 credit_card   SUBMITTED   INVESTED   2022-03-28T17:57:57.945Z   COMPLETED

2022-03-21 17:11 PM   OYO Fitness   OYO Fitness   JARED JOYCE             person    jared@jaredjoyce.com           US     550   500     50   $1,000.00   $35.00     $1,035.00 credit_card   SUBMITTED   INVESTED   2022-03-28T17:57:57.945Z   COMPLETED

2022-03-20 21:24 PM   OYO Fitness   OYO Fitness   David Dornier           person    reinroddmd@gmail.com           US     550   500     50   $1,000.00   $35.00     $1,035.00 credit_card   SUBMITTED   INVESTED   2022-03-28T17:57:57.945Z   COMPLETED




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2022-03-20 17:08 PM   OYO Fitness   OYO Fitness   Matthew Licholai       person   mattlic@outlook.com          US     550   500     50   $1,000.00   $35.00     $1,035.00 credit_card   SUBMITTED   INVESTED   2022-03-28T17:57:57.945Z   COMPLETED

2022-03-18 17:37 PM   OYO Fitness   OYO Fitness   Christopher Thompson   person   flatbedotr@gmail.com         US     550   500     50   $1,000.00   $35.00     $1,035.00 credit_card   SUBMITTED   INVESTED   2022-03-28T17:57:57.945Z   COMPLETED

2022-03-18 3:18 AM    OYO Fitness   OYO Fitness   Nicole Stott           person   nicole@npsdiscovery.com      US     575   500     75   $1,000.00   $35.00     $1,035.00 credit_card   SUBMITTED   INVESTED   2022-03-28T17:57:57.945Z   COMPLETED

2022-03-17 15:01 PM   OYO Fitness   OYO Fitness   Edward Jones           ira      wsmidl@aol.com               US     575   500     75   $1,000.00   $35.00     $1,035.00 credit_card   SUBMITTED   INVESTED   2022-03-21T18:35:19.005Z   COMPLETED

2022-03-17 10:04 AM   OYO Fitness   OYO Fitness   Bryan Barreras         person   bryan.barreras@nyu.edu       US     575   500     75   $1,000.00   $35.00     $1,035.00 credit_card   SUBMITTED   INVESTED   2022-03-21T18:35:19.005Z   COMPLETED

2022-03-17 9:17 AM    OYO Fitness   OYO Fitness   Innis O'Rourke         person   iorourke3@gmail.com          US     575   500     75   $1,000.00   $35.00     $1,035.00 credit_card   SUBMITTED   INVESTED   2022-03-21T18:35:19.005Z   COMPLETED

2022-03-17 5:08 AM    OYO Fitness   OYO Fitness   Lukas Leulleik         person   saito88@freenet.de           DE     575   500     75   $1,000.00   $35.00     $1,035.00 credit_card   SUBMITTED   INVESTED   2022-05-10T06:19:48.369Z   COMPLETED

2022-03-16 22:32 PM   OYO Fitness   OYO Fitness   Senthil Nachimuthu     person   snachimu@gmail.com           US     575   500     75   $1,000.00   $35.00     $1,035.00 credit_card   SUBMITTED   INVESTED   2022-03-21T18:35:19.005Z   COMPLETED

2022-03-16 21:46 PM   OYO Fitness   OYO Fitness   Theyartis Edwards      person   theyartis@hotmail.com        US     575   500     75   $1,000.00   $35.00     $1,035.00 ach           SUBMITTED   INVESTED   2022-03-28T18:02:44.637Z   COMPLETED

2022-03-16 20:15 PM   OYO Fitness   OYO Fitness   Loren Lieberthal       person   headwriter@gmail.com         US     575   500     75   $1,000.00   $35.00     $1,035.00 credit_card   SUBMITTED   INVESTED   2022-03-21T18:35:19.005Z   COMPLETED

2022-03-16 20:11 PM   OYO Fitness   OYO Fitness   Joseph Vuono           person   josephcvuono@yahoo.com       US     575   500     75   $1,000.00   $35.00     $1,035.00 credit_card   SUBMITTED   INVESTED   2022-04-16T05:02:27.675Z   COMPLETED

2022-03-16 18:52 PM   OYO Fitness   OYO Fitness   Samar Naik             person   samar200@gmail.com           US     575   500     75   $1,000.00   $35.00     $1,035.00 credit_card   SUBMITTED   INVESTED   2022-03-21T18:35:19.005Z   COMPLETED

2022-03-16 16:44 PM   OYO Fitness   OYO Fitness   Valtaree Boyd          person   nlrar2015@gmail.com          US     575   500     75   $1,000.00   $35.00     $1,035.00 credit_card   SUBMITTED   INVESTED   2022-03-21T18:35:19.005Z   COMPLETED

2022-03-16 16:32 PM   OYO Fitness   OYO Fitness   Richard Nobliski       person   rich.nobliski@gmail.com      US     575   500     75   $1,000.00   $35.00     $1,035.00 credit_card   SUBMITTED   INVESTED   2022-03-21T18:35:19.005Z   COMPLETED

2022-03-16 14:24 PM   OYO Fitness   OYO Fitness   Ronald Kemnitzer       person   rkemnitz@vt.edu              US     575   500     75   $1,000.00   $35.00     $1,035.00 credit_card   SUBMITTED   INVESTED   2022-03-21T18:35:19.005Z   COMPLETED

2022-03-16 14:02 PM   OYO Fitness   OYO Fitness   Gerald McDaniel        person   g.pat.mcdaniel@gmail.com     US     575   500     75   $1,000.00   $35.00     $1,035.00 credit_card   SUBMITTED   INVESTED   2022-03-21T18:35:19.005Z   COMPLETED

2022-03-16 11:43 AM   OYO Fitness   OYO Fitness   Margaret Rose          person   msr200sw@yahoo.com           US     575   500     75   $1,000.00   $35.00     $1,035.00 credit_card   SUBMITTED   INVESTED   2022-04-16T05:02:27.675Z   COMPLETED

2022-03-16 10:44 AM   OYO Fitness   OYO Fitness   Charlton Burns         person   charltonburns@hotmail.com    US     575   500     75   $1,000.00   $35.00     $1,035.00 credit_card   SUBMITTED   INVESTED   2022-03-21T18:35:19.005Z   COMPLETED

2022-03-16 10:10 AM   OYO Fitness   OYO Fitness   Eduardo Naval          person   ednaval@msn.com              US     575   500     75   $1,000.00   $35.00     $1,035.00 credit_card   SUBMITTED   INVESTED   2022-03-21T18:35:19.005Z   COMPLETED

2022-03-16 9:21 AM    OYO Fitness   OYO Fitness   Peter Bogdan           person   peterbogdan56@yahoo.com      US     575   500     75   $1,000.00   $35.00     $1,035.00 credit_card   SUBMITTED   INVESTED   2022-03-28T17:57:57.945Z   COMPLETED

2022-03-16 8:41 AM    OYO Fitness   OYO Fitness   Jaime Oikle            person   jaimeoikle@gmail.com         US     575   500     75   $1,000.00   $35.00     $1,035.00 ach           SUBMITTED   INVESTED   2022-03-28T18:02:44.637Z   COMPLETED

2022-03-16 7:51 AM    OYO Fitness   OYO Fitness   Donald Shickle         person   drshickle@verizon.net        US     575   500     75   $1,000.00   $35.00     $1,035.00 credit_card   SUBMITTED   INVESTED   2022-03-21T18:35:19.005Z   COMPLETED

2022-03-16 7:36 AM    OYO Fitness   OYO Fitness   kim haskins            person   shask@aol.com                US     575   500     75   $1,000.00   $35.00     $1,035.00 credit_card   SUBMITTED   INVESTED   2022-03-21T18:35:19.005Z   COMPLETED

2022-03-16 6:49 AM    OYO Fitness   OYO Fitness   morris gelman          person   lesliegelman92@hotmail.com   US     575   500     75   $1,000.00   $35.00     $1,035.00 credit_card   SUBMITTED   INVESTED   2022-03-21T18:35:19.005Z   COMPLETED

2022-03-16 6:10 AM    OYO Fitness   OYO Fitness   Wael Azer              person   waelazer@yahoo.com           US     575   500     75   $1,000.00   $35.00     $1,035.00 credit_card   SUBMITTED   INVESTED   2022-03-21T18:35:19.005Z   COMPLETED

2022-03-15 23:43 PM   OYO Fitness   OYO Fitness   Sean DiPaolo           person   xonz@protonmail.com          US     575   500     75   $1,000.00   $35.00     $1,035.00 credit_card   SUBMITTED   INVESTED   2022-03-21T18:35:19.005Z   COMPLETED

2022-03-15 22:47 PM   OYO Fitness   OYO Fitness   Matthew Licholai       person   mattlic@outlook.com          US     575   500     75   $1,000.00   $35.00     $1,035.00 credit_card   SUBMITTED   INVESTED   2022-03-21T18:35:19.005Z   COMPLETED

2022-03-15 15:34 PM   OYO Fitness   OYO Fitness   michael mathews        person   vtxmanmike@yahoo.com       US       575   500     75   $1,000.00   $35.00     $1,035.00 credit_card   SUBMITTED   INVESTED   2022-03-21T18:35:19.005Z   COMPLETED
                                                                                  andrew.c.wong.3506@gmail.c
2022-03-15 15:24 PM   OYO Fitness   OYO Fitness   Andrew Wong            person   om                         US       575   500     75   $1,000.00   $35.00     $1,035.00 credit_card   SUBMITTED   INVESTED   2022-03-21T18:35:19.005Z   COMPLETED

2022-03-15 11:41 AM   OYO Fitness   OYO Fitness   Jon Panter             person   brewme1@hotmail.com        US       575   500     75   $1,000.00   $35.00     $1,035.00 credit_card   SUBMITTED   INVESTED   2022-03-21T18:35:19.005Z   COMPLETED
                                                                                  contactbobsherman@gmail.co
2022-03-15 11:32 AM   OYO Fitness   OYO Fitness   Robert Sherman         person   m                          US       575   500     75   $1,000.00   $35.00     $1,035.00 credit_card   SUBMITTED   INVESTED   2022-03-21T18:35:19.005Z   COMPLETED

2022-04-04 10:21 AM   OYO Fitness   OYO Fitness   nate C                 person   98nathaniel@gmail.com        US     325   325      0    $650.00    $22.75      $672.75 credit_card    SUBMITTED   INVESTED   2022-04-16T05:02:27.675Z   COMPLETED

2022-03-17 20:31 PM   OYO Fitness   OYO Fitness   Jeffrey Frey           person   myorders@bbtny.com           US     350   305     45    $610.00    $21.35      $631.35 credit_card    SUBMITTED   INVESTED   2022-03-28T17:57:57.945Z   COMPLETED

2022-03-25 19:57 PM   OYO Fitness   OYO Fitness   Raynay Valles          person   raynayvalles@gmail.com       US     315   300     15    $600.00    $21.00      $621.00 credit_card    SUBMITTED   INVESTED   2022-04-04T19:52:38.783Z   COMPLETED

2022-03-20 20:12 PM   OYO Fitness   OYO Fitness   Bryan Williams         person   bkwill232@yahoo.com          US     302   275     27    $550.00    $19.25      $569.25 ach            SUBMITTED   INVESTED   2022-04-04T19:54:45.175Z   COMPLETED

2022-03-17 16:44 PM   OYO Fitness   OYO Fitness   Asheesh Bothra         person   asheeshbothra@gmail.com      US     288   251     37    $502.00    $17.57      $519.57 credit_card    SUBMITTED   INVESTED   2022-03-21T18:35:19.005Z   COMPLETED

2022-07-19 22:52 PM   OYO Fitness   OYO Fitness   Andrew Johnson         person   andrew2300@gmail.com         US     250   250      0    $500.00    $17.50      $517.50 credit_card    SUBMITTED   INVESTED   2022-07-26T03:28:18.822Z   COMPLETED

2022-07-19 22:50 PM   OYO Fitness   OYO Fitness   Ernest Burgman         person   ernestburgman@gmail.com      US     275   250     25    $500.00    $17.50      $517.50 credit_card    SUBMITTED   INVESTED   2022-07-26T03:28:18.822Z   COMPLETED

2022-07-19 22:42 PM   OYO Fitness   OYO Fitness   Sarah Ewart            person   sarahewart@hotmail.com       US     250   250      0    $500.00    $17.50      $517.50 credit_card    SUBMITTED   INVESTED   2022-07-26T03:28:18.822Z   COMPLETED

2022-07-18 20:09 PM   OYO Fitness   OYO Fitness   John Little            person   jackcanbefound@gmail.com     US     250   250      0    $500.00    $17.50      $517.50 credit_card    SUBMITTED   INVESTED   2022-07-26T03:28:18.822Z   COMPLETED

2022-07-15 6:32 AM    OYO Fitness   OYO Fitness   Dustin Smith           person   dusty0659@gmail.com          US     250   250      0    $500.00    $17.50      $517.50 credit_card    SUBMITTED   INVESTED   2022-07-26T03:28:18.822Z   COMPLETED

2022-07-13 21:55 PM   OYO Fitness   OYO Fitness   WILLIAM CUMMINGS       person   wmmcummings@gmail.com        PH     250   250      0    $500.00    $17.50      $517.50 credit_card    SUBMITTED   INVESTED   2022-07-19T06:44:14.032Z   COMPLETED

2022-07-13 16:03 PM   OYO Fitness   OYO Fitness   Jeffrey Willoughby     person   willoughbyj07@yahoo.com      US     275   250     25    $500.00    $17.50      $517.50 credit_card    SUBMITTED   INVESTED   2022-07-19T06:44:14.032Z   COMPLETED

2022-06-09 7:19 AM    OYO Fitness   OYO Fitness   Courtney Calk          person   christiecalk@yahoo.com       US     250   250      0    $500.00    $17.50      $517.50 credit_card    SUBMITTED   INVESTED   2022-06-14T04:47:39.416Z   COMPLETED

2022-06-07 13:38 PM   OYO Fitness   OYO Fitness   Veldon Sallee          person   veldon@gtiengineers.com      US     250   250      0    $500.00    $17.50      $517.50 credit_card    SUBMITTED   INVESTED   2022-06-14T04:47:39.416Z   COMPLETED

2022-05-10 8:17 AM    OYO Fitness   OYO Fitness   Akinola Emmanuel       person   akinemma@gmail.com             US   250   250      0    $500.00    $17.50      $517.50 ach            SUBMITTED   INVESTED   2022-05-24T05:30:34.271Z   COMPLETED
                                                  PARKER                          xxxfw8tdjk@privaterelay.applei
2022-04-26 11:46 AM   OYO Fitness   OYO Fitness   RICHARDSON             person   d.com                          US   250   250      0    $500.00    $17.50      $517.50 credit_card    SUBMITTED   INVESTED   2022-05-10T05:53:42.926Z   COMPLETED

2022-04-20 20:58 PM   OYO Fitness   OYO Fitness   Jacob Pruess           person   twelve@gmail.com             US     250   250      0    $500.00    $17.50      $517.50 ach            SUBMITTED   INVESTED   2022-05-03T01:39:26.138Z   COMPLETED

2022-04-12 16:58 PM   OYO Fitness   OYO Fitness   andrea valerio         person   avalerio1967@gmail.com       US     275   250     25    $500.00    $17.50      $517.50 credit_card    SUBMITTED   INVESTED   2022-04-20T04:55:44.523Z   COMPLETED

2022-04-12 14:46 PM   OYO Fitness   OYO Fitness   Krista Holland         person   gkholland@live.com           US     250   250      0    $500.00    $17.50      $517.50 credit_card    SUBMITTED   INVESTED   2022-04-20T04:55:44.523Z   COMPLETED

2022-04-02 14:02 PM   OYO Fitness   OYO Fitness   Kendall Dobison        person   kdobison@yahoo.com           US     275   250     25    $500.00    $17.50      $517.50 credit_card    SUBMITTED   INVESTED   2022-04-16T05:02:27.675Z   COMPLETED




                                                                                  Case 24-20781                       Doc# 1      Filed 06/21/24              Page 61 of 68
2022-04-01 10:55 AM   OYO Fitness   OYO Fitness   JOHNNY LI               person   reptile18@gmail.com          US    275   250     25   $500.00   $17.50      $517.50 credit_card   SUBMITTED   INVESTED   2022-04-16T05:02:27.675Z   COMPLETED

2022-03-31 5:35 AM    OYO Fitness   OYO Fitness   Jeffrey Willoughby      person   willoughbyj07@yahoo.com      US    250   250      0   $500.00   $17.50      $517.50 credit_card   SUBMITTED   INVESTED   2022-04-04T19:52:38.783Z   COMPLETED

2022-03-29 7:15 AM    OYO Fitness   OYO Fitness   Alicia Smith            person   aliciasmith2017@gmail.com    US    262   250     12   $500.00   $17.50      $517.50 credit_card   SUBMITTED   INVESTED   2022-04-04T19:52:38.783Z   COMPLETED

2022-03-29 7:15 AM    OYO Fitness   OYO Fitness   Ashley Smith            person   ashleylsmith2019@gmail.com US      262   250     12   $500.00   $17.50      $517.50 credit_card   SUBMITTED   INVESTED   2022-04-04T19:52:38.783Z   COMPLETED

2022-03-29 5:11 AM    OYO Fitness   OYO Fitness   Allison Briley          person   thebrileys7@gmail.com        US    262   250     12   $500.00   $17.50      $517.50 credit_card   SUBMITTED   INVESTED   2022-04-04T19:52:38.783Z   COMPLETED

2022-03-28 15:49 PM   OYO Fitness   OYO Fitness   Ahmad Abbott            person   a_abbott80@yahoo.com         US    262   250     12   $500.00   $17.50      $517.50 credit_card   SUBMITTED   INVESTED   2022-04-04T19:52:38.783Z   COMPLETED

2022-03-28 15:17 PM   OYO Fitness   OYO Fitness   Edgar Flores            person   edgarf2002@gmail.com         US    262   250     12   $500.00   $17.50      $517.50 credit_card   SUBMITTED   INVESTED   2022-04-04T19:52:38.783Z   COMPLETED
                                                  Jonathan Michael
2022-03-28 12:10 PM   OYO Fitness   OYO Fitness   Anonuevo                person   jonathan.anonuevo@gmail.com US     262   250     12   $500.00   $17.50      $517.50 credit_card   SUBMITTED   INVESTED   2022-04-04T19:52:38.783Z   COMPLETED

2022-03-27 22:10 PM   OYO Fitness   OYO Fitness   Robert Battisti         person   rob.battisti@gmail.com       AU    262   250     12   $500.00   $17.50      $517.50 credit_card   SUBMITTED   INVESTED   2022-05-10T06:19:48.369Z   COMPLETED
                                                  The Arnold Family Trust
2022-03-27 16:59 PM   OYO Fitness   OYO Fitness   date August 26,2014     trust    s.d.arnold@sbcglobal.net     US    262   250     12   $500.00   $17.50      $517.50 credit_card   SUBMITTED   INVESTED   2022-06-28T05:07:13.740Z   COMPLETED

2022-03-27 16:24 PM   OYO Fitness   OYO Fitness   Eric Eshleman           person   eeshleman@gmail.com          US    262   250     12   $500.00   $17.50      $517.50 credit_card   SUBMITTED   INVESTED   2022-04-04T19:52:38.783Z   COMPLETED

2022-03-27 15:19 PM   OYO Fitness   OYO Fitness   Elliot Oki              person   elliot.oki@gmail.com         US    262   250     12   $500.00   $17.50      $517.50 credit_card   SUBMITTED   INVESTED   2022-04-04T19:52:38.783Z   COMPLETED

2022-03-27 15:10 PM   OYO Fitness   OYO Fitness   Julia Johnson           person   bills@techboi.com            US    262   250     12   $500.00   $17.50      $517.50 credit_card   SUBMITTED   INVESTED   2022-04-04T19:52:38.783Z   COMPLETED

2022-03-27 13:57 PM   OYO Fitness   OYO Fitness   Roberta Golden          person   rgolden29@comcast.net        US    262   250     12   $500.00   $17.50      $517.50 credit_card   SUBMITTED   INVESTED   2022-04-04T19:52:38.783Z   COMPLETED

2022-03-21 20:14 PM   OYO Fitness   OYO Fitness   Robert Giese            person   rob_giese@outlook.com      US      275   250     25   $500.00   $17.50      $517.50 credit_card   SUBMITTED   INVESTED   2022-03-28T17:57:57.945Z   COMPLETED
                                                                                   s9ysm5m2bc@privaterelay.ap
2022-03-21 4:30 AM    OYO Fitness   OYO Fitness   David Heikka            person   pleid.com                  US      275   250     25   $500.00   $17.50      $517.50 credit_card   SUBMITTED   INVESTED   2022-03-28T17:57:57.945Z   COMPLETED

2022-03-20 22:51 PM   OYO Fitness   OYO Fitness   Colter Barney           person   cbarney523@gmail.com        US     275   250     25   $500.00   $17.50      $517.50 credit_card   SUBMITTED   INVESTED   2022-03-28T17:57:57.945Z   COMPLETED
                                                                                   sharlashopsmypoints@gmail.c
2022-03-20 13:48 PM   OYO Fitness   OYO Fitness   Sharla-Elyn Robinson    person   om                          US     275   250     25   $500.00   $17.50      $517.50 credit_card   SUBMITTED   INVESTED   2022-03-28T17:57:57.945Z   COMPLETED

2022-03-18 9:08 AM    OYO Fitness   OYO Fitness   Jason Chi               person   jason.chi103@gmail.com     US      275   250     25   $500.00   $17.50      $517.50 credit_card   SUBMITTED   INVESTED   2022-03-28T17:57:57.945Z   COMPLETED
                                                                                   monkeysontheseine@gmail.co
2022-03-18 6:03 AM    OYO Fitness   OYO Fitness   Yin Chen                person   m                          US      287   250     37   $500.00   $17.50      $517.50 credit_card   SUBMITTED   INVESTED   2022-03-28T17:57:57.945Z   COMPLETED

2022-03-17 16:32 PM   OYO Fitness   OYO Fitness   Edward O'Connor         person   evojr1@gmail.com             US    287   250     37   $500.00   $17.50      $517.50 ach           SUBMITTED   INVESTED   2022-05-17T06:42:08.091Z   COMPLETED

2022-03-17 15:44 PM   OYO Fitness   OYO Fitness   Edward Goldfarb         person   sopodispenser@aol.com        US    287   250     37   $500.00   $17.50      $517.50 credit_card   SUBMITTED   INVESTED   2022-03-21T18:35:19.005Z   COMPLETED

2022-03-17 12:05 PM   OYO Fitness   OYO Fitness   Gary Fisher             person   scrabbs@aol.com              US    287   250     37   $500.00   $17.50      $517.50 credit_card   SUBMITTED   INVESTED   2022-03-21T18:35:19.005Z   COMPLETED

2022-03-16 21:51 PM   OYO Fitness   OYO Fitness   Khalid Alblooshi        person   kjjjdxb@yahoo.com            AE    287   250     37   $500.00   $17.50      $517.50 credit_card   SUBMITTED   INVESTED   2022-05-10T06:19:48.369Z   COMPLETED

2022-03-16 19:43 PM   OYO Fitness   OYO Fitness   ross razak              person   rossrazak@hotmail.com        US    287   250     37   $500.00   $17.50      $517.50 credit_card   SUBMITTED   INVESTED   2022-03-21T18:35:19.005Z   COMPLETED

2022-03-16 13:52 PM   OYO Fitness   OYO Fitness   Shakir Burhani          person   sburhani@gmail.com           US    287   250     37   $500.00   $17.50      $517.50 credit_card   SUBMITTED   INVESTED   2022-03-21T18:35:19.005Z   COMPLETED

2022-03-16 12:51 PM   OYO Fitness   OYO Fitness   Jacob Coleman           person   jmcoleman1998@gmail.com      US    287   250     37   $500.00   $17.50      $517.50 credit_card   SUBMITTED   INVESTED   2022-03-21T18:35:19.005Z   COMPLETED

2022-03-16 12:44 PM   OYO Fitness   OYO Fitness   Jordan Book             person   jordanbook@me.com            US    287   250     37   $500.00   $17.50      $517.50 ach           SUBMITTED   INVESTED   2022-03-28T18:02:44.637Z   COMPLETED

2022-03-16 9:58 AM    OYO Fitness   OYO Fitness   Robert Stanton          person   bobstanton77@gmail.com       US    287   250     37   $500.00   $17.50      $517.50 credit_card   SUBMITTED   INVESTED   2022-03-21T18:35:19.005Z   COMPLETED

2022-03-16 7:37 AM    OYO Fitness   OYO Fitness   Walter Scott            person   wjscott89@gmail.com          US    287   250     37   $500.00   $17.50      $517.50 credit_card   SUBMITTED   INVESTED   2022-04-04T19:52:38.783Z   COMPLETED

2022-03-15 18:17 PM   OYO Fitness   OYO Fitness   Boris Stojanovic        person   borislav1977@gmail.com       US    287   250     37   $500.00   $17.50      $517.50 credit_card   SUBMITTED   INVESTED   2022-03-21T18:35:19.005Z   COMPLETED

2022-04-15 8:53 AM    OYO Fitness   OYO Fitness   Brian Fortney           person   bmbeu@aol.com                US    238   238      0   $476.00   $16.66      $492.66 credit_card   SUBMITTED   INVESTED   2022-04-27T01:46:01.513Z   COMPLETED

2022-03-16 7:25 AM    OYO Fitness   OYO Fitness   Balazs Szoke            person   ballzm3@hotmail.com           US   262   228     34   $456.00   $15.96      $471.96 credit_card   SUBMITTED   INVESTED   2022-03-21T18:35:19.005Z   COMPLETED
                                                                                   aboosalis@stormlakecapital.co
2022-03-15 14:34 PM   OYO Fitness   OYO Fitness   alex boosalis           person   m                             US   262   228     34   $456.00   $15.96      $471.96 credit_card   SUBMITTED   INVESTED   2022-03-21T18:35:19.005Z   COMPLETED

2022-07-14 4:26 AM    OYO Fitness   OYO Fitness   Matthew Knorr           person   mattias.knorr@gmail.com      US    200   200      0   $400.00   $14.00      $414.00 credit_card   SUBMITTED   INVESTED   2022-07-19T06:44:14.032Z   COMPLETED

2022-03-30 17:19 PM   OYO Fitness   OYO Fitness   Corey Glidden           person   gnonymuss@gmail.com          US    200   200      0   $400.00   $14.00      $414.00 credit_card   SUBMITTED   INVESTED   2022-04-04T19:52:38.783Z   COMPLETED

2022-03-19 17:12 PM   OYO Fitness   OYO Fitness   Chris Ibie              person   optimuminter@yahoo.com       US    220   200     20   $400.00   $14.00      $414.00 credit_card   SUBMITTED   INVESTED   2022-03-28T17:57:57.945Z   COMPLETED

2022-03-17 16:36 PM   OYO Fitness   OYO Fitness   John Byrom              person   tombyrom@comcast.net         US    230   200     30   $400.00   $14.00      $414.00 credit_card   SUBMITTED   INVESTED   2022-03-21T18:35:19.005Z   COMPLETED

2022-03-16 14:12 PM   OYO Fitness   OYO Fitness   Donald Poynter          person   poynter@indy.net             US    224   195     29   $390.00   $13.65      $403.65 credit_card   SUBMITTED   INVESTED   2022-03-21T18:35:19.005Z   COMPLETED

2022-03-16 13:11 PM   OYO Fitness   OYO Fitness   Erik Miller             person   funkaholik@yahoo.com         US    224   195     29   $390.00   $13.65      $403.65 credit_card   SUBMITTED   INVESTED   2022-03-21T18:35:19.005Z   COMPLETED
                                                  Harsha
2022-03-16 13:08 PM   OYO Fitness   OYO Fitness   Chandrashekaraiah       person   harsha1306@gmail.com         US    224   195     29   $390.00   $13.65      $403.65 ach           SUBMITTED   INVESTED   2022-03-21T18:35:19.005Z   COMPLETED

2022-03-26 20:10 PM   OYO Fitness   OYO Fitness   Huzaifah Khan           person   huzaifah777@hotmail.com      AU    197   188      9   $376.00   $13.16      $389.16 credit_card   SUBMITTED   INVESTED   2022-05-10T06:19:48.369Z   COMPLETED
                                                  Sharene Hawthorne-
2022-03-18 7:02 AM    OYO Fitness   OYO Fitness   Rene                    person   inspectorenerahs@aol.com     US    201   175     26   $350.00   $12.25      $362.25 credit_card   SUBMITTED   INVESTED   2022-03-28T17:57:57.945Z   COMPLETED

2022-03-15 13:55 PM   OYO Fitness   OYO Fitness   Eric Su                 person   ericwsu76@gmail.com          US    201   175     26   $350.00   $12.25      $362.25 credit_card   SUBMITTED   INVESTED   2022-04-16T05:02:27.675Z   COMPLETED
                                                  The Gandhi Family
2022-03-16 16:12 PM   OYO Fitness   OYO Fitness   Revocable Trust dated   trust    biren.gandhi@gmail.com       US    200   174     26   $348.00   $12.18      $360.18 credit_card   SUBMITTED   INVESTED   2022-05-10T06:19:48.369Z   COMPLETED

2022-03-15 15:32 PM   OYO Fitness   OYO Fitness   Jeremy Chamblin         person   jchamblin09@gmail.com        US    187   163     24   $326.00   $11.41      $337.41 credit_card   SUBMITTED   INVESTED   2022-03-21T18:35:19.005Z   COMPLETED
                                                  Mauricio Gutiérrez
2022-07-19 17:06 PM   OYO Fitness   OYO Fitness   Gandara                 person   flymaui7@yahoo.com           US    165   150     15   $300.00   $10.50      $310.50 credit_card   SUBMITTED   INVESTED   2022-07-26T03:28:18.822Z   COMPLETED

2022-07-15 10:01 AM   OYO Fitness   OYO Fitness   Steve Mellor            person   steven.mellor@yahoo.com      US    150   150      0   $300.00   $10.50      $310.50 credit_card   SUBMITTED   INVESTED   2022-07-26T03:28:18.822Z   COMPLETED

2022-07-13 20:12 PM   OYO Fitness   OYO Fitness   Lary Korn               person   laryk75@gmail.com            US    150   150      0   $300.00   $10.50      $310.50 credit_card   SUBMITTED   INVESTED   2022-07-19T06:44:14.032Z   COMPLETED

2022-05-08 17:54 PM   OYO Fitness   OYO Fitness   Christopher Greer       person   christgreer@gmail.com        US    165   150     15   $300.00   $10.50      $310.50 credit_card   SUBMITTED   INVESTED   2022-05-17T06:51:03.663Z   COMPLETED

2022-04-16 18:53 PM   OYO Fitness   OYO Fitness   Lorenzo Fernandez       person   booklogic12345@gmail.com     US    165   150     15   $300.00   $10.50      $310.50 credit_card   SUBMITTED   INVESTED   2022-04-27T01:46:01.513Z   COMPLETED




                                                                                   Case 24-20781                      Doc# 1      Filed 06/21/24            Page 62 of 68
2022-04-04 9:44 AM    OYO Fitness   OYO Fitness   Roger McCoy             person    roger.mccoy@asu.edu           US    150   150      0   $300.00   $10.50      $310.50 ach           SUBMITTED   INVESTED   2022-04-20T04:09:03.998Z   COMPLETED

2022-03-30 20:31 PM   OYO Fitness   OYO Fitness   Alicson Knowland        person    alicson@gmail.com             US    150   150      0   $300.00   $10.50      $310.50 credit_card   SUBMITTED   INVESTED   2022-04-04T19:52:38.783Z   COMPLETED

2022-03-30 7:35 AM    OYO Fitness   OYO Fitness   Alexander Rosenke       person    arosenke@googlemail.com       DE    150   150      0   $300.00   $10.50      $310.50 credit_card   SUBMITTED   INVESTED   2022-05-10T06:19:48.369Z   COMPLETED

2022-03-20 17:26 PM   OYO Fitness   OYO Fitness   Robert Wall             person    raw9499@gmail.com             US    165   150     15   $300.00   $10.50      $310.50 credit_card   SUBMITTED   INVESTED   2022-03-28T17:57:57.945Z   COMPLETED

2022-03-20 13:26 PM   OYO Fitness   OYO Fitness   Akinola Emmanuel        person    akinemma@gmail.com            US    165   150     15   $300.00   $10.50      $310.50 credit_card   SUBMITTED   INVESTED   2022-03-28T17:57:57.945Z   COMPLETED

2022-03-18 13:16 PM   OYO Fitness   OYO Fitness   Arkadiy Lakshtanov      person    arkadiy_@hotmail.com          US    165   150     15   $300.00   $10.50      $310.50 credit_card   SUBMITTED   INVESTED   2022-03-28T17:57:57.945Z   COMPLETED

2022-03-18 7:14 AM    OYO Fitness   OYO Fitness   Shamez Davis            person    shamezdavis@yahoo.com         US    172   150     22   $300.00   $10.50      $310.50 credit_card   SUBMITTED   INVESTED   2022-03-28T17:57:57.945Z   COMPLETED

2022-03-28 16:40 PM   OYO Fitness   OYO Fitness   John Chantharuck        person    jchantharuck@gmail.com        US    150   143      7   $286.00   $10.01      $296.01 credit_card   SUBMITTED   INVESTED   2022-04-04T19:52:38.783Z   COMPLETED

2022-03-17 13:58 PM   OYO Fitness   OYO Fitness   Justin Kite             person    jud5483@gmail.com             US    161   140     21   $280.00    $9.80      $289.80 credit_card   SUBMITTED   INVESTED   2022-03-21T18:35:19.005Z   COMPLETED

2022-03-16 15:27 PM   OYO Fitness   OYO Fitness   Pathil LLC              company   neelamperoor75@gmail.com      US    155   135     20   $270.00    $9.45      $279.45 credit_card   SUBMITTED   INVESTED   2022-03-21T18:35:19.005Z   COMPLETED

2022-03-21 21:42 PM   OYO Fitness   OYO Fitness   Hao Zhang               person    mr.haozhang@gmail.com         US    143   130     13   $260.00    $9.10      $269.10 credit_card   SUBMITTED   INVESTED   2022-03-28T17:57:57.945Z   COMPLETED

2022-07-14 12:55 PM   OYO Fitness   OYO Fitness   Baron Huntington        person    baron.huntington@gmail.com    US    126   126      0   $252.00    $8.82      $260.82 credit_card   SUBMITTED   INVESTED   2022-07-19T06:44:14.032Z   COMPLETED

2022-07-19 23:21 PM   OYO Fitness   OYO Fitness   Diego pereira lopez     person    diegosanpiragua@gmail.com ES        137   125     12   $250.00    $8.75      $258.75 credit_card   SUBMITTED   INVESTED   2022-07-26T03:28:18.822Z   COMPLETED
                                                                                    9s944zhjny@privaterelay.apple
2022-07-19 9:31 AM    OYO Fitness   OYO Fitness   Mubashar Ghani          person    id.com                        US    125   125      0   $250.00    $8.75      $258.75 credit_card   SUBMITTED   INVESTED   2022-07-26T03:28:18.822Z   COMPLETED

2022-07-19 4:22 AM    OYO Fitness   OYO Fitness   Kari Fugitt             person    kfugitt@hotmail.com           US    125   125      0   $250.00    $8.75      $258.75 credit_card   SUBMITTED   INVESTED   2022-07-26T03:28:18.822Z   COMPLETED

2022-07-19 2:25 AM    OYO Fitness   OYO Fitness   Julieann Paracsi        person    jjparacsiinvesting@yahoo.com US     125   125      0   $250.00    $8.75      $258.75 credit_card   SUBMITTED   INVESTED   2022-07-26T03:28:18.822Z   COMPLETED
                                                                                    narayan.iyer@rockwellcollins.c
2022-07-18 16:25 PM   OYO Fitness   OYO Fitness   Narayan Iyer            person    om                             US   125   125      0   $250.00    $8.75      $258.75 credit_card   SUBMITTED   INVESTED   2022-07-26T03:28:18.822Z   COMPLETED
                                                                                    jacob.monnin.shopping@gmail
2022-07-17 14:48 PM   OYO Fitness   OYO Fitness   Jacob Monnin            person    .com                           US   125   125      0   $250.00    $8.75      $258.75 credit_card   SUBMITTED   INVESTED   2022-07-26T03:28:18.822Z   COMPLETED

2022-07-16 13:18 PM   OYO Fitness   OYO Fitness   Bryan Clark             person    bryan@furlessone.com          US    125   125      0   $250.00    $8.75      $258.75 credit_card   SUBMITTED   INVESTED   2022-07-26T03:28:18.822Z   COMPLETED

2022-07-15 10:49 AM   OYO Fitness   OYO Fitness   Stephen Perrine         person    sperrine@sbcglobal.net        US    125   125      0   $250.00    $8.75      $258.75 credit_card   SUBMITTED   INVESTED   2022-07-26T03:28:18.822Z   COMPLETED

2022-07-14 17:57 PM   OYO Fitness   OYO Fitness   Carlos Mata Jr          person    carlosmatajr632@gmail.com     US    125   125      0   $250.00    $8.75      $258.75 credit_card   SUBMITTED   INVESTED   2022-07-19T06:44:14.032Z   COMPLETED
                                                                                    drawn_by_intellect@yahoo.co
2022-07-14 12:31 PM   OYO Fitness   OYO Fitness   Brian Laguerre          person    m                             US    125   125      0   $250.00    $8.75      $258.75 credit_card   SUBMITTED   INVESTED   2022-07-19T06:44:14.032Z   COMPLETED

2022-07-14 6:29 AM    OYO Fitness   OYO Fitness   Ellen Vadney            person    ecvadney@hotmail.com          US    125   125      0   $250.00    $8.75      $258.75 credit_card   SUBMITTED   INVESTED   2022-07-19T06:44:14.032Z   COMPLETED

2022-07-13 17:08 PM   OYO Fitness   OYO Fitness   Akinola Emmanuel        person    akinemma@gmail.com            US    125   125      0   $250.00    $8.75      $258.75 ach           SUBMITTED   INVESTED   2022-07-26T03:13:25.285Z   COMPLETED

2022-07-13 14:24 PM   OYO Fitness   OYO Fitness   Thomas Ferrara          person    doc465@aol.com                US    137   125     12   $250.00    $8.75      $258.75 credit_card   SUBMITTED   INVESTED   2022-07-19T06:44:14.032Z   COMPLETED

2022-05-18 15:19 PM   OYO Fitness   OYO Fitness   Gerald Rosier           person    brownguboy@yahoo.com          US    125   125      0   $250.00    $8.75      $258.75 credit_card   SUBMITTED   INVESTED   2022-05-24T04:49:23.277Z   COMPLETED

2022-05-08 6:38 AM    OYO Fitness   OYO Fitness   David Gondrez           person    davidgondrez@yahoo.com        US    125   125      0   $250.00    $8.75      $258.75 credit_card   SUBMITTED   INVESTED   2022-05-17T06:51:03.663Z   COMPLETED

2022-05-02 19:20 PM   OYO Fitness   OYO Fitness   Vadim Mezhebovsky       person    vadimm@comcast.net            US    137   125     12   $250.00    $8.75      $258.75 credit_card   SUBMITTED   INVESTED   2022-05-10T06:19:48.369Z   COMPLETED

2022-04-22 10:19 AM   OYO Fitness   OYO Fitness   Aaron Chandler          person    ascstotaman68@yahoo.com       US    125   125      0   $250.00    $8.75      $258.75 credit_card   SUBMITTED   INVESTED   2022-05-10T05:53:42.926Z   COMPLETED

2022-04-13 19:43 PM   OYO Fitness   OYO Fitness   Craig Cox               person    craigoptimark@gmail.com       US    125   125      0   $250.00    $8.75      $258.75 credit_card   SUBMITTED   INVESTED   2022-04-20T04:55:44.523Z   COMPLETED

2022-04-13 14:35 PM   OYO Fitness   OYO Fitness   Evelyn Torres           person    eve_torres@hotmail.com        US    125   125      0   $250.00    $8.75      $258.75 credit_card   SUBMITTED   INVESTED   2022-04-20T04:55:44.523Z   COMPLETED

2022-04-13 9:54 AM    OYO Fitness   OYO Fitness   WEN CHUANG              person    wchuang09@yahoo.com          US     125   125      0   $250.00    $8.75      $258.75 credit_card   SUBMITTED   INVESTED   2022-04-20T04:55:44.523Z   COMPLETED
                                                                                    william.szczepanski@gmail.co
2022-04-12 15:44 PM   OYO Fitness   OYO Fitness   William Szczepanski     person    m                            US     125   125      0   $250.00    $8.75      $258.75 credit_card   SUBMITTED   INVESTED   2022-04-20T04:55:44.523Z   COMPLETED

2022-04-12 13:50 PM   OYO Fitness   OYO Fitness   Patricia Fragen         person    sostricia@gmail.com           US    125   125      0   $250.00    $8.75      $258.75 credit_card   SUBMITTED   INVESTED   2022-04-20T04:55:44.523Z   COMPLETED

2022-04-12 13:30 PM   OYO Fitness   OYO Fitness   Amy Melissa Loggans     person    aml2nb@gmail.com              US    125   125      0   $250.00    $8.75      $258.75 credit_card   SUBMITTED   INVESTED   2022-04-20T04:55:44.523Z   COMPLETED

2022-04-10 15:04 PM   OYO Fitness   OYO Fitness   Graham Henry            person    grjhenry@gmail.com            US    125   125      0   $250.00    $8.75      $258.75 credit_card   SUBMITTED   INVESTED   2022-04-20T04:55:44.523Z   COMPLETED

2022-04-07 10:48 AM   OYO Fitness   OYO Fitness   Corey Grip              person    gripster9518@hotmail.com      US    137   125     12   $250.00    $8.75      $258.75 credit_card   SUBMITTED   INVESTED   2022-04-16T05:02:27.675Z   COMPLETED

2022-04-03 10:40 AM   OYO Fitness   OYO Fitness   Paul Sandelin           person    plmarine@yahoo.com            US    125   125      0   $250.00    $8.75      $258.75 credit_card   SUBMITTED   INVESTED   2022-04-16T05:02:27.675Z   COMPLETED

2022-03-31 9:35 AM    OYO Fitness   OYO Fitness   Christine Pisano        person    christine@christinepisano.com US    125   125      0   $250.00    $8.75      $258.75 credit_card   SUBMITTED   INVESTED   2022-04-04T19:52:38.783Z   COMPLETED

2022-03-29 9:58 AM    OYO Fitness   OYO Fitness   Toni Owens              person    toni.owens82@gmail.com        US    125   125      0   $250.00    $8.75      $258.75 credit_card   SUBMITTED   INVESTED   2022-04-04T19:52:38.783Z   COMPLETED

2022-03-29 8:49 AM    OYO Fitness   OYO Fitness   Michael Orosz           person    morosz2@rockets.utoledo.edu US      131   125      6   $250.00    $8.75      $258.75 credit_card   SUBMITTED   INVESTED   2022-04-04T19:52:38.783Z   COMPLETED

2022-03-29 6:49 AM    OYO Fitness   OYO Fitness   Kenneth Perez-Marrero   person    kmpmarrero@gmail.com          US    131   125      6   $250.00    $8.75      $258.75 credit_card   SUBMITTED   INVESTED   2022-04-04T19:52:38.783Z   COMPLETED

2022-03-28 16:29 PM   OYO Fitness   OYO Fitness   Daniel Stein            person    dsatshick@gmail.com           US    131   125      6   $250.00    $8.75      $258.75 credit_card   SUBMITTED   INVESTED   2022-04-04T19:52:38.783Z   COMPLETED

2022-03-28 15:13 PM   OYO Fitness   OYO Fitness   paul petersen           person    paul_petersen@pacbell.net     US    131   125      6   $250.00    $8.75      $258.75 credit_card   SUBMITTED   INVESTED   2022-04-04T19:52:38.783Z   COMPLETED

2022-03-28 6:25 AM    OYO Fitness   OYO Fitness   David Dornier           person    reinroddmd@gmail.com          US    131   125      6   $250.00    $8.75      $258.75 credit_card   SUBMITTED   INVESTED   2022-04-04T19:52:38.783Z   COMPLETED

2022-03-27 19:08 PM   OYO Fitness   OYO Fitness   Kevin Ram               person    fijiraja@yahoo.com            US    131   125      6   $250.00    $8.75      $258.75 credit_card   SUBMITTED   INVESTED   2022-04-04T19:52:38.783Z   COMPLETED

2022-03-27 18:34 PM   OYO Fitness   OYO Fitness   Edward A Sawabini       person    inibawas@gmail.com            US    131   125      6   $250.00    $8.75      $258.75 credit_card   SUBMITTED   INVESTED   2022-04-04T19:52:38.783Z   COMPLETED

2022-03-27 15:00 PM   OYO Fitness   OYO Fitness   Victor Whitacre         person    cashacre@mail.com             US    131   125      6   $250.00    $8.75      $258.75 credit_card   SUBMITTED   INVESTED   2022-04-04T19:52:38.783Z   COMPLETED
                                                                                    nhp5rpg2tz@privaterelay.apple
2022-03-27 13:17 PM   OYO Fitness   OYO Fitness   Christopher Chin        person    id.com                        US    131   125      6   $250.00    $8.75      $258.75 credit_card   SUBMITTED   INVESTED   2022-04-04T19:52:38.783Z   COMPLETED

2022-03-27 9:38 AM    OYO Fitness   OYO Fitness   Ryan Critchett          person    rjcritchett@gmail.com         US    131   125      6   $250.00    $8.75      $258.75 credit_card   SUBMITTED   INVESTED   2022-04-04T19:52:38.783Z   COMPLETED

2022-03-27 9:20 AM    OYO Fitness   OYO Fitness   Jose Asenjo             person    asenjo729@aol.com             US    131   125      6   $250.00    $8.75      $258.75 credit_card   SUBMITTED   INVESTED   2022-04-04T19:52:38.783Z   COMPLETED




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2022-03-25 16:27 PM   OYO Fitness   OYO Fitness   Edward O'Connor      person   evojr1@gmail.com             US    131   125      6   $250.00   $8.75      $258.75 ach           SUBMITTED   INVESTED   2022-05-17T06:42:08.091Z   COMPLETED

2022-03-25 10:02 AM   OYO Fitness   OYO Fitness   J. Rucker McCarty    person   uvaruck@gmail.com            US    131   125      6   $250.00   $8.75      $258.75 credit_card   SUBMITTED   INVESTED   2022-04-04T19:52:38.783Z   COMPLETED

2022-03-24 14:25 PM   OYO Fitness   OYO Fitness   Tammy Newton         person   toe392@yahoo.com             US    131   125      6   $250.00   $8.75      $258.75 ach           SUBMITTED   INVESTED   2022-04-04T19:54:45.175Z   COMPLETED
                                                  Jonathan Michael
2022-03-24 11:31 AM   OYO Fitness   OYO Fitness   Anonuevo             person   jonathan.anonuevo@gmail.com US     131   125      6   $250.00   $8.75      $258.75 credit_card   SUBMITTED   INVESTED   2022-04-16T05:02:27.675Z   COMPLETED

2022-03-24 9:12 AM    OYO Fitness   OYO Fitness   Thomas Ferrara       person   doc465@aol.com               US    137   125     12   $250.00   $8.75      $258.75 credit_card   SUBMITTED   INVESTED   2022-03-28T17:57:57.945Z   COMPLETED

2022-03-24 2:10 AM    OYO Fitness   OYO Fitness   Melissa Takahashi    person   me.cee59@gmail.com           US    131   125      6   $250.00   $8.75      $258.75 credit_card   SUBMITTED   INVESTED   2022-03-28T17:57:57.945Z   COMPLETED

2022-03-23 15:29 PM   OYO Fitness   OYO Fitness   Daniel Vega          person   dvegas13@gmail.com           US    131   125      6   $250.00   $8.75      $258.75 credit_card   SUBMITTED   INVESTED   2022-03-28T17:57:57.945Z   COMPLETED

2022-03-22 15:47 PM   OYO Fitness   OYO Fitness   Patrick Hopper       person   pathopperlpc@gmail.com       US    131   125      6   $250.00   $8.75      $258.75 credit_card   SUBMITTED   INVESTED   2022-03-28T17:57:57.945Z   COMPLETED

2022-03-22 2:53 AM    OYO Fitness   OYO Fitness   Devin Omoto          person   omotod@msn.com               US    137   125     12   $250.00   $8.75      $258.75 credit_card   SUBMITTED   INVESTED   2022-03-28T17:57:57.945Z   COMPLETED

2022-03-21 9:02 AM    OYO Fitness   OYO Fitness   Phil O'Donnell       person   phylodo@hotmail.com          US    137   125     12   $250.00   $8.75      $258.75 credit_card   SUBMITTED   INVESTED   2022-03-28T17:57:57.945Z   COMPLETED

2022-03-20 21:58 PM   OYO Fitness   OYO Fitness   Sheldon Daniels      person   sdaniels1@gmail.com          US    137   125     12   $250.00   $8.75      $258.75 credit_card   SUBMITTED   INVESTED   2022-03-28T17:57:57.945Z   COMPLETED

2022-03-20 21:28 PM   OYO Fitness   OYO Fitness   Stanley Ram          person   sffree1224@hotmail.com       US    137   125     12   $250.00   $8.75      $258.75 credit_card   SUBMITTED   INVESTED   2022-03-28T17:57:57.945Z   COMPLETED

2022-03-20 21:05 PM   OYO Fitness   OYO Fitness   Thomas Phelps        person   tkphelpsco@gmail.com         US    137   125     12   $250.00   $8.75      $258.75 credit_card   SUBMITTED   INVESTED   2022-03-28T17:57:57.945Z   COMPLETED

2022-03-20 17:17 PM   OYO Fitness   OYO Fitness   Stephen Ray          person   captainsteveray@gmail.com    US    137   125     12   $250.00   $8.75      $258.75 credit_card   SUBMITTED   INVESTED   2022-03-28T17:57:57.945Z   COMPLETED

2022-03-20 16:27 PM   OYO Fitness   OYO Fitness   Patrick Regan        person   pwr888@gmail.com             US    137   125     12   $250.00   $8.75      $258.75 credit_card   SUBMITTED   INVESTED   2022-03-28T17:57:57.945Z   COMPLETED

2022-03-20 15:21 PM   OYO Fitness   OYO Fitness   Rilley Ramos         person   rilley.ramos@hotmail.com     US    137   125     12   $250.00   $8.75      $258.75 credit_card   SUBMITTED   INVESTED   2022-03-28T17:57:57.945Z   COMPLETED

2022-03-20 15:15 PM   OYO Fitness   OYO Fitness   Stan Kirkley         person   skirkley58@gmail.com         US    137   125     12   $250.00   $8.75      $258.75 credit_card   SUBMITTED   INVESTED   2022-03-28T17:57:57.945Z   COMPLETED

2022-03-20 14:52 PM   OYO Fitness   OYO Fitness   Lawrence Avancena    person   law.avancena@gmail.com       US    137   125     12   $250.00   $8.75      $258.75 credit_card   SUBMITTED   INVESTED   2022-03-28T17:57:57.945Z   COMPLETED

2022-03-18 20:43 PM   OYO Fitness   OYO Fitness   Michael Rogers       person   mrr@michaelrrogers.com       US    137   125     12   $250.00   $8.75      $258.75 credit_card   SUBMITTED   INVESTED   2022-03-28T17:57:57.945Z   COMPLETED
                                                  Robert Weech-
2022-03-18 20:23 PM   OYO Fitness   OYO Fitness   Maldonado            person   robweech@gmail.com           US    137   125     12   $250.00   $8.75      $258.75 credit_card   SUBMITTED   INVESTED   2022-03-28T17:57:57.945Z   COMPLETED

2022-03-18 18:52 PM   OYO Fitness   OYO Fitness   Santiago cespedes    person   s-ces@outlook.com            MX    137   125     12   $250.00   $8.75      $258.75 credit_card   SUBMITTED   INVESTED   2022-05-10T06:19:48.369Z   COMPLETED

2022-03-18 8:53 AM    OYO Fitness   OYO Fitness   Gordon Jones         person   gordonbjones@outlook.com     US    143   125     18   $250.00   $8.75      $258.75 credit_card   SUBMITTED   INVESTED   2022-03-28T17:57:57.945Z   COMPLETED

2022-03-18 7:54 AM    OYO Fitness   OYO Fitness   Nicholas Dunn        person   gldni@hotmail.com            US    143   125     18   $250.00   $8.75      $258.75 credit_card   SUBMITTED   INVESTED   2022-03-28T17:57:57.945Z   COMPLETED

2022-03-17 23:53 PM   OYO Fitness   OYO Fitness   Chris Kan            person   ckan80@hotmail.com           US    143   125     18   $250.00   $8.75      $258.75 credit_card   SUBMITTED   INVESTED   2022-03-28T17:57:57.945Z   COMPLETED

2022-03-17 22:40 PM   OYO Fitness   OYO Fitness   Andrew Cameron       person   acameron22@gmail.com         US    143   125     18   $250.00   $8.75      $258.75 credit_card   SUBMITTED   INVESTED   2022-03-28T17:57:57.945Z   COMPLETED

2022-03-17 18:01 PM   OYO Fitness   OYO Fitness   David Macario        person   david@macario.us             US    143   125     18   $250.00   $8.75      $258.75 credit_card   SUBMITTED   INVESTED   2022-03-28T17:57:57.945Z   COMPLETED

2022-03-17 17:09 PM   OYO Fitness   OYO Fitness   Kenny Roberts        person   kenny.roberts@me.com         US    143   125     18   $250.00   $8.75      $258.75 credit_card   SUBMITTED   INVESTED   2022-04-04T19:52:38.783Z   COMPLETED

2022-03-17 16:07 PM   OYO Fitness   OYO Fitness   Michael Golt         person   mgolt@ycp.edu                US    143   125     18   $250.00   $8.75      $258.75 ach           SUBMITTED   INVESTED   2022-03-28T18:02:44.637Z   COMPLETED

2022-03-17 15:37 PM   OYO Fitness   OYO Fitness   Joseph Cook          person   joboyogi@hotmail.com         US    143   125     18   $250.00   $8.75      $258.75 credit_card   SUBMITTED   INVESTED   2022-03-21T18:35:19.005Z   COMPLETED

2022-03-17 12:07 PM   OYO Fitness   OYO Fitness   Norman Hoppe         person   hoppefam1997@gmail.com       US    143   125     18   $250.00   $8.75      $258.75 credit_card   SUBMITTED   INVESTED   2022-03-28T17:57:57.945Z   COMPLETED

2022-03-17 11:25 AM   OYO Fitness   OYO Fitness   Duane Tucker         person   tuckerduane@yahoo.com        US    143   125     18   $250.00   $8.75      $258.75 credit_card   SUBMITTED   INVESTED   2022-03-21T18:35:19.005Z   COMPLETED

2022-03-17 10:35 AM   OYO Fitness   OYO Fitness   Abhijit Upasani      person   abhijit.upasani@icloud.com   US    143   125     18   $250.00   $8.75      $258.75 credit_card   SUBMITTED   INVESTED   2022-03-21T18:35:19.005Z   COMPLETED

2022-03-17 8:03 AM    OYO Fitness   OYO Fitness   Rachel Fitzpatrick   person   lifecoachrachel@yahoo.com    US    143   125     18   $250.00   $8.75      $258.75 credit_card   SUBMITTED   INVESTED   2022-03-21T18:35:19.005Z   COMPLETED

2022-03-17 6:27 AM    OYO Fitness   OYO Fitness   Jennifer Roberge     person   jrbooklvr@aol.com            US    143   125     18   $250.00   $8.75      $258.75 credit_card   SUBMITTED   INVESTED   2022-03-21T18:35:19.005Z   COMPLETED

2022-03-17 6:21 AM    OYO Fitness   OYO Fitness   Amit Fridman         person   amif2000@gmail.com           IL    143   125     18   $250.00   $8.75      $258.75 credit_card   SUBMITTED   INVESTED   2022-05-10T06:19:48.369Z   COMPLETED

2022-03-17 4:21 AM    OYO Fitness   OYO Fitness   Steven Winston       person   steve63147@yahoo.com         US    143   125     18   $250.00   $8.75      $258.75 credit_card   SUBMITTED   INVESTED   2022-04-16T05:02:27.675Z   COMPLETED

2022-03-17 3:06 AM    OYO Fitness   OYO Fitness   Matt Wyre            person   matt.wyre@gmail.com          US    143   125     18   $250.00   $8.75      $258.75 credit_card   SUBMITTED   INVESTED   2022-03-21T18:35:19.005Z   COMPLETED

2022-03-16 21:46 PM   OYO Fitness   OYO Fitness   John White           person   duowhitelancer@gmail.com     US    143   125     18   $250.00   $8.75      $258.75 ach           SUBMITTED   INVESTED   2022-03-28T18:02:44.637Z   COMPLETED

2022-03-16 20:02 PM   OYO Fitness   OYO Fitness   John Paul Wells      person   jpwells123@gmail.com         US    143   125     18   $250.00   $8.75      $258.75 credit_card   SUBMITTED   INVESTED   2022-03-21T18:35:19.005Z   COMPLETED

2022-03-16 19:45 PM   OYO Fitness   OYO Fitness   Michael Laker        person   mwlaker44@yahoo.com          US    143   125     18   $250.00   $8.75      $258.75 credit_card   SUBMITTED   INVESTED   2022-03-21T18:35:19.005Z   COMPLETED

2022-03-16 19:26 PM   OYO Fitness   OYO Fitness   Marianna Bailey      person   maastrichtnl@icloud.com      US    143   125     18   $250.00   $8.75      $258.75 credit_card   SUBMITTED   INVESTED   2022-03-21T18:35:19.005Z   COMPLETED

2022-03-16 17:45 PM   OYO Fitness   OYO Fitness   Mitchell Lindgren    person   mitch@lindg.ren              US    143   125     18   $250.00   $8.75      $258.75 ach           SUBMITTED   INVESTED   2022-03-28T18:02:44.637Z   COMPLETED

2022-03-16 17:18 PM   OYO Fitness   OYO Fitness   Edward Medlock       person   ekmedlock@gmail.com           US   143   125     18   $250.00   $8.75      $258.75 ach           SUBMITTED   INVESTED   2022-03-28T18:02:44.637Z   COMPLETED
                                                                                zyc8z6cgf9@privaterelay.apple
2022-03-16 17:10 PM   OYO Fitness   OYO Fitness   Eduardo Alfonzo      person   id.com                        US   143   125     18   $250.00   $8.75      $258.75 ach           SUBMITTED   INVESTED   2022-03-28T18:02:44.637Z   COMPLETED

2022-03-16 16:24 PM   OYO Fitness   OYO Fitness   Jeffrey Satz         person   jeffreysatz@gmail.com        US    143   125     18   $250.00   $8.75      $258.75 credit_card   SUBMITTED   INVESTED   2022-03-21T18:35:19.005Z   COMPLETED

2022-03-16 16:01 PM   OYO Fitness   OYO Fitness   Michele Adeleye      person   msadeleye524@yahoo.com       US    143   125     18   $250.00   $8.75      $258.75 credit_card   SUBMITTED   INVESTED   2022-03-21T18:35:19.005Z   COMPLETED

2022-03-16 14:47 PM   OYO Fitness   OYO Fitness   Catherine Cline      person   crcline27@gmail.com          US    143   125     18   $250.00   $8.75      $258.75 credit_card   SUBMITTED   INVESTED   2022-03-21T18:35:19.005Z   COMPLETED

2022-03-16 14:12 PM   OYO Fitness   OYO Fitness   Claude Hubert        person   c.hubert.63@outlook.com      US    143   125     18   $250.00   $8.75      $258.75 credit_card   SUBMITTED   INVESTED   2022-03-21T18:35:19.005Z   COMPLETED

2022-03-16 13:56 PM   OYO Fitness   OYO Fitness   Michael Reckles      person   mreckles@outlook.com         US    143   125     18   $250.00   $8.75      $258.75 credit_card   SUBMITTED   INVESTED   2022-03-21T18:35:19.005Z   COMPLETED

2022-03-16 13:28 PM   OYO Fitness   OYO Fitness   Hector Jimenez       person   hector@backendservers.com    US    143   125     18   $250.00   $8.75      $258.75 credit_card   SUBMITTED   INVESTED   2022-03-21T18:35:19.005Z   COMPLETED

2022-03-16 13:02 PM   OYO Fitness   OYO Fitness   Brady Benson         person   drbbenson@yahoo.com          US    143   125     18   $250.00   $8.75      $258.75 credit_card   SUBMITTED   INVESTED   2022-03-21T18:35:19.005Z   COMPLETED




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2022-03-16 12:49 PM   OYO Fitness   OYO Fitness   Christine Solga               person    csolga11@gmail.com         US      143        125          18       $250.00          $8.75         $258.75 credit_card   SUBMITTED   INVESTED   2022-03-21T18:35:19.005Z   COMPLETED

2022-03-16 12:47 PM   OYO Fitness   OYO Fitness   Gordon Ferguson               person    grferguson01@gmail.com     US      143        125          18       $250.00          $8.75         $258.75 credit_card   SUBMITTED   INVESTED   2022-03-21T18:35:19.005Z   COMPLETED

2022-03-16 9:36 AM    OYO Fitness   OYO Fitness   Patricia Slentz-Howard        person    pslentzhoward1@gmail.com   US      143        125          18       $250.00          $8.75         $258.75 credit_card   SUBMITTED   INVESTED   2022-03-21T18:35:19.005Z   COMPLETED

2022-03-16 8:26 AM    OYO Fitness   OYO Fitness   Ferhat Bacha                  person    talaazizt@outlook.com      US      143        125          18       $250.00          $8.75         $258.75 ach           SUBMITTED   INVESTED   2022-03-28T18:02:44.637Z   COMPLETED

2022-03-16 7:25 AM    OYO Fitness   OYO Fitness   Stephen LaMonica              person    stevelamonica@yahoo.com    US      143        125          18       $250.00          $8.75         $258.75 credit_card   SUBMITTED   INVESTED   2022-03-21T18:35:19.005Z   COMPLETED

2022-03-16 6:59 AM    OYO Fitness   OYO Fitness   Denyveaus Sells               person    deeslls@aol.com            US      143        125          18       $250.00          $8.75         $258.75 credit_card   SUBMITTED   INVESTED   2022-04-04T19:52:38.783Z   COMPLETED

2022-03-15 19:49 PM   OYO Fitness   OYO Fitness   Alister Galpin                person    alister@galpin.net.nz      NZ      143        125          18       $250.00          $8.75         $258.75 credit_card   SUBMITTED   INVESTED   2022-05-10T06:19:48.369Z   COMPLETED

2022-03-15 15:19 PM   OYO Fitness   OYO Fitness   Joe Kessinger                 person    joekessinger@gmail.com     US      143        125          18       $250.00          $8.75         $258.75 credit_card   SUBMITTED   INVESTED   2022-03-21T18:35:19.005Z   COMPLETED

2022-03-15 15:11 PM   OYO Fitness   OYO Fitness   Jimmie Sharp                  person    jsharp324@gmail.com        US      143        125          18       $250.00          $8.75         $258.75 credit_card   SUBMITTED   INVESTED   2022-05-10T06:19:48.369Z   COMPLETED

2022-03-15 14:42 PM   OYO Fitness   OYO Fitness   MIKE RANSDELL                 person    mikelransdell@gmail.com    US      143        125          18       $250.00          $8.75         $258.75 credit_card   SUBMITTED   INVESTED   2022-03-21T18:35:19.005Z   COMPLETED

2022-03-15 14:17 PM   OYO Fitness   OYO Fitness   Paunya LLC                    company   sonya@paunya.com           US      143        125          18       $250.00          $8.75         $258.75 credit_card   SUBMITTED   INVESTED   2022-03-21T18:35:19.005Z   COMPLETED

2022-03-15 12:51 PM   OYO Fitness   OYO Fitness   Ryan Harrison                 person    contactryan@aol.com        US      143        125          18       $250.00          $8.75         $258.75 credit_card   SUBMITTED   INVESTED   2022-03-21T18:35:19.005Z   COMPLETED

2022-03-15 11:41 AM   OYO Fitness   OYO Fitness   Venus Van Horn                person    vvanhorn@oyofitness.com    US      143        125          18       $250.00          $8.75         $258.75 credit_card   SUBMITTED   INVESTED   2022-03-21T18:35:19.005Z   COMPLETED

2022-03-15 11:37 AM   OYO Fitness   OYO Fitness   Kevin Ahrens                  person    kev.ahrens@gmail.com       US      143        125          18       $250.00          $8.75         $258.75 ach           SUBMITTED   INVESTED   2022-03-28T18:02:44.637Z   COMPLETED
                                                                                                                          ϭϴϭ͕ϱϳϮ   ϭϲϲ͕ϳϲϱ    ϭϰ͕ϴϬϳ   Ψϯϯϯ͕ϱϯϬ͘ϬϬ   Ψϭϭ͕ϯϮϯ͘ϱϱ     Ψϯϰϰ͕ϴϱϯ͘ϱϱ
                                                                                                                          ϭϴϭ͕ϱϳϮ                                                        Ψϯϰϰ͕ϴϱϯ͘ϱϱ




                                                                    ϱ͕ϴϭϮ͕ϱϬϬ




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                                        United States Bankruptcy Court
                                                   District of Kansas
 In re   OYO Fitness, Inc.                                                          Case No.
                                                           Debtor(s)                Chapter    11




                              CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for OYO Fitness, Inc. in the above captioned action, certifies that the following is a
(are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of any
class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:




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Bruce Salvaggio
9240 High Drive
Leawood, KS 66206
Jami Sunkel
6711 Stella Link Road
Houston, TX 77005
Joseph Baker

Joseph Kessinger
2914 West 72nd Terrace
Prairie Village, KS 66208
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Paul Francis
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Ripple Consulting, LLC
5927 Locust
Kansas City, MO 64110
Sonya Andrews
3208 Southwest Trafficway
Kansas City, MO 64111
Sonya Andrews
3208 Southwest Trafficway
Kansas City, MO 64111
Start Engine EQ Crowdfunders
See Attached Exhibit A
Terry Rouse
3941 Gennessee Street
Kansas City, MO 64111
Thomas Houlehan
330 West 47th Street
Kansas City, MO 64112
Thomas Houlehan
330 West 47th Street
Kansas City, MO 64112




  None [Check if applicable]


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June 21, 2024                   /s/ Colin Gotham
Date                            Colin Gotham KS#19538; MO#52343
                                Signature of Attorney or Litigant
                                Counsel for OYO Fitness, Inc.
                                Evans & Mullinix, P.A.
                                7225 Renner Road, Suite 200
                                Shawnee, KS 66217
                                (913) 962-8700 Fax:(913) 962-8701
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